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1
     NINA  R.  RINGGOLD  
2
     17901  Malden  St.  
3    Northridge,  CA    91325  
     Telephone:  (818)  773-­‐‑2409,  Facsimile:  (866)  340-­‐‑4312  
4
     Defendants    
5

6                                                    UNITED  STATES  DISTRICT  COURT  

7
                                                         FOR  THE  CENTRAL  DISTRICT
8
      SUPREME  COURT  OF  CALIFORNIA;  THE  STATE                              Case  No.______________  
9     BAR  OF  CALIFORNIA;  BOARD  OF  TRUSTEES  
10
      OF  THE  STATE  BAR  OF  CALIFORNIA;  THOMAS                             NOTICE  AND  PETITION  FOR  REMOVAL  
      MILLER  former  General  Counsel,  VANESSA                               UNDER  THE  CIVIL  RIGHTS  ACT  OF  1866;  28  
11    HOLTON  current  General  Counsel;  STATE  BAR                           U.S.C.  §  1443(2)  [Refusal  to  Act  Clause  
      COURT  OF  CALIFORNIA  as  an  entity  that  is  not  a                  applicable  to  State  Officers];  28  U.S.C.  §  1443  
12
      court  of  record;  JUDGE  YVETTE  ROLAND,  
                                                                               (1);  28  U.S.C.  §  1331  AND  NOTICE  OF  
13    CATHERINE  PURCELL,  RICHARD  HONN,  
                                                                               ORIGINAL  JURISDICTION  UNDER  CIVIL  
      individuals  and  not  judicial  officers;  MICHELLE  
14
      CRAMTON,  ADA  coordinator;  JAYNE  KIM  former                          RIGHTS  ACT  OF  1866,  THE  AMERICANS  
15    Chief  Trial  Counsel,  STEVEN  MOAWAD  former                           WITH  DISABILITIES  ACT,  AND  504  OF  THE  
      Chief  Trial  Counsel,  MELANIE  J.  LAWRENCE                            REHABILITATION  ACT  
16
      interim  Chief  Trial  Counsel;  ASHOD  
17    MOORADIAN,  AGUSTIN  HERNANDEZ,  ROSS                                    NOTICE  OF  INDEPENDENT  PETITION  FOR  
      VISELMAN,  PATRICE  VALLIER-­‐‑GLASS,  KERRI                             WRIT  OF  HABEAS  CORPUS;  INDEPENDENT  
18    RILEY,  trial  counsel;  CRAIG  MATHENY                                  PETITION  FOR  WRIT  OF  QUO  WARRANTO  
19    investigator,  BARBARA  FIELD  investigator,  and                        OR  OTHER  APPROPRIATE  RELIEF;  
      any  other  alleged  investigator(s);  all  the  above  
20
                                                                               INDEPENDENT  PETITION  TO  RE-­‐‑OPEN;  
      independently  and  as  persons  and/or  entities  
                                                                               AND  
21
      governed  under  Cal.  B&P  Code  §  6031  (b),  and  
      DOES  1-­‐‑10,    
22                                                                             APPLICATION  FOR  RELIEF  UNDER  THE  
                                         Plaintiffs,                           ALL  WRITS  ACT  (28  U.S.C.  §1651)  
23
      v.  
24
                                                                               (Jury  Trial  Requested)
      NINA  R.  RINGGOLD,  LAW  OFFICES  OF  NINA  R.  
25
      RINGGOLD  as  constitutionally  mandated  member  
26    of  the  State  Bar  of  California  under  Cal.  Const.  VI  §  
      9  with  clients  protected  under  §  §  1  -­‐‑  3  of  the  Civil  
27
      Rights  Act  of  1866  and  Cal.  B&P  Code  §  6001.1  (eff.  
28    10/2/11)  and  engaged  in  action  under  Voting  Rights  
      Act  that  Seeks  a  Special  Judicial  Election  in  the  
      State  of  California,  

                                         Defendants.  
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             TO  THE  CLERK  OF  COURT  AND  ALL  PARTIES  AND  THEIR  ATTORNEYS  OF  
1
     RECORD  HEREIN:    
2

3            PLEASE  TAKE  NOTICE  that  defendants  Nina  Ringgold  and  the  Law  Office  of  
4    Nina  Ringgold  hereby  remove  the  above  referenced  actions  or  proceedings.  The  notice  of  
5
     removal  is  pursuant  the  Civil  Rights  Act  of  1866;  the  Refusal  to  Act  Clause  of  §  3  of  the  
6
     Civil  Rights  Act  of  1866  and  the  Refusal  to  Act  Clause  of  28  U.S.C.  §  1443  (2),  28  U.S.C.  §  
7

8    1443  (1);  28  U.S.C.  §  1441;  and  28  U.S.C.  §  1331.    It  is  also  pursuant  to  the  Americans  With  
9    Disabilities  Act  and  the  504  of  the  Rehabilitation  Act.  
10
             PLEASE  TAKE  FURTHER  NOTICE  that  this  petition  is  also  filed  a  petition  for  writ  
11

12
     of  habeas  corpus  under  the  §  3  of  the  Civil  Rights  Act  of  1866  and  under  28  U.S.C.  §  2254.    

13   And,  it  is  filed  as  a  petition  for  writ  of  quo  warranto.  
14
             PLEASE  TAKE  FURTHER  NOTICE  that  this  petition  is  also  filed  under  the  All  
15
     Writs  Act  (28  U.S.C.  §  1651).  See  Yonkers  Racing  Corporation  v.  City  of  Yonkers,  858  F.2d  
16

17
     855,  863  (2nd  Cir.  1988)(The  All  Writs  Act  allows  the  court  to  issue  orders  as  to  persons  and  

18   entities  (although  not  parties  to  the  original  action)  who  are  in  a  position  to  frustrate  an  
19
     ultimate  order  of  the  federal  court  or  the  proper  administration  of  justice  even  if  those  
20
     persons  have  not  taken  any  affirmative  action  to  hinder  justice).    Such  relief  is  proper  due  
21

22
     to  the  fact  that  by  legislative  mandate  as  employees  of  the  State  Bar  plaintiffs  are  barred  
23   from  considering  the  defenses  of  the  defendant,  the  tribunal  is  acting  in  direct  conflict  with  
24
     federal  jurisdiction  and  law.    This  petition  is  also  filed  pursuant  to  the  1866  Act,  Voting  
25
     Rights  Act,  First,  Fifteenth,  Fourteenth  Amendment  bar  the  conduct  herein.  
26

27                   PLEASE  TAKE  FURTHER  NOTICE  that  this  petition  is  also  as  a  petition  to  
28   re-­‐‑open  under  Federal  Rules  of  Civil  Procedure,  Rule  60  (b)  and  (d).    This  court  has  not  

     ruled  on  the  motion  to  vacate  filed  on  September  28,  2020  in  case  no  2:20-­‐‑cv-­‐‑07842-­‐‑GW-­‐‑

                                                               2
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     MRW.    There  has  also  been  a  change  in  law  by  Common  Cause  v.  Lewis,  956.3d  246  (4th  Cir.  
1
     2020)  that  addresses  the  Refusal  to  Act  Clause  of  28  U.S.C.  §  1443  (2)  in  a  manner  
2

3    favorable  to  defendants.      
4
            PLEASE  TAKE  FURTHER  NOTICE  that  all  regulatory  and  investigative  
5

6
     proceedings  at  issue  in  this  removal  are  confidential  as  mandated  by  state  law  including  

7    California  Rule  of  Court  1.100  and  defendants  do  not  waive  any  aspect  of  this  
8
     confidentiality.  Therefore,  supporting  exhibits  and  material  will  be  subsequently  
9
     submitted  under  seal  and  request  for  protective  order  will  be  requested.    Additionally,  an  
10

11
     amended  petition  will  be  submitted  as  necessary  due  to  needed  accommodation  for  

12   disability.  
13
                                                         THE  PARTIES  
14
            1.       Defendant  is  an  individual  who  is  a  citizen  of  the  United  States,  a  citizen  of  
15

16
     the  State  of  California,  and  a  registered  voter  in  the  State  of  California.    She  is  African  
17   American  and  a  direct  decedent  of  slaves  or  persons  subjected  to  involuntary  servitude  in  
18
     the  United  States.    She  is  a  member  of  a  protected  class  and  maintains  rights  under  the  
19
     Thirteenth  Amendment.    She  is  female  and  a  licensed  attorney  in  the  State  of  California  in  
20

21   continuous  good  standing  with  the  California  State  Bar.    She  has  no  record  of  discipline  or  
22   client  complaint  with  the  State  Bar.    She  is  also  a  person  with  a  physical  disability  and  had  
23
     been  denied  disability  accommodation  and  subjected  to  race  and  disability  discrimination  
24
     and  retaliation  in  the  proceedings  at  issue.    
25

26          2.       Defendant  is  a  mandatory  member  of  the  State  Bar  of  California  as  a  
27   constitutional  body  as  specified  in  California  Constitution  Article  6,  Section  9.  She  has  
28
     been  providing  legal  services  in  the  State  of  California  for  over  30  years.    The  client  base  of  



                                                              3
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     the  law  office  includes  the  most  vulnerable  populations  in  the  State,  mainly  low  and  
1
     modest  income  persons  who  are  racial  and  language  minorities.  Defendant  pays  
2

3    mandatory  dues  to  the  State  Bar  and  this  entity  is  not  acting  in  the  public  interest  or  in  the  
4    interest  of  her  clients.    
5
             3.       As  to  the  plaintiffs,  defendant  is  informed  and  believes  as  follows:  
6
             4.       Plaintiff  Supreme  Court  is  a  court  of  record  in  the  State  of  California.  
7

8            5.       Plaintiff  State  Bar  of  California  is  public  corporation  as  specified  in  the  state  
9    constitution.  
10
             6.       Plaintiff  Board  of  Trustees  of  the  State  Bar  of  California  (“Board”).  
11

12
             7.       Plaintiff  Thomas  Miller  is  former  General  Counsel  of  the  State  Bar  of  

13   California  during  the  period  of  approximately  February  2014  to  August  2015.  
14
             8.       Plaintiff  Vanessa  Holton  has  been  General  Counsel  of  the  State  Bar  of  
15
     California  during  the  period  of  approximately  August  2015  to  the  present.  
16

17
             9.       Plaintiff  State  Bar  Court  of  California  is  established  by  the  Board.  

18           10.      Plaintiffs  Yvette  Roland,  Catherine  Purcell,  and  Richard  Honn  are  not  judicial  
19
     officers  of  the  State  Bar  Court.  
20
             11.      Plaintiff  Michelle  Cramton  is  an  alleged  ADA  Coordinator.  
21

22
             12.      Plaintiff  Jayne  Kim  was  former  Chief  Trial  Counsel  from  about  2011  until  
23   about  April  2017.  
24
             13.      Plaintiff  Steven  Moawad  was  former  Chief  Trial  Counsel  from  about  April  
25
     2017  until  about  May  18,  2018.  
26

27           14.      Plaintiff  Melanie  Lawrence  has  been  interim  Chief  Trial  Counsel  since  about  
28   May  19,  2018  to  the  present.  



                                                              4
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            15.       Plaintiff  Ashod  Mooradian  is  former  trial  counsel  for  the  State  Bar  of  
1
     California  and  is  the  person  who  filed  the  void  notice  of  disciplinary  charge  in  the  State  
2

3    Bar  court.    This  plaintiff  subsequently  was  forced  to  leave  the  state  bar.  
4           16.     Plaintiff  Agustin  Hernandez  is  trial  counsel  who  worked  in  conjunction  of  
5
     Ashod  Mooradian  before  the  first  removal  and  until  the  void  notice  of  disciplinary  charge  
6
     was  filed  in  the  State  Bar  Court.    After  removal  he  was  no  longer  involved  case.  
7

8           17.     Plaintiff  Ross  Viselman,  Patricia  Vallier-­‐‑Glass,  and  Kerri  Riley  are  or  were  
9    trial  counsel.  
10
            18.     Plaintiff  Craig  Matheny  is  an  investigator  for  the  office  of  chief  trial  counsel.  
11

12
            19.     Plaintiff  Barbara  Field  is  an  investigator  for  the  office  of  chief  trial  counsel.  

13                                             GENERAL  ALLEGATIONS  
14
            Public  Interest  
15
            20.     Many  public  interest  programs,  including  those  which  defendant  has  worked,  
16

17
     receive  funding  from  Interest  on  Lawyers’  Trust  Accounts  (ILOTA).    Between  the  year  

18   2008  to  2014  revenue  from  this  source  of  funding  declined  by  80%.    In  2014  there  were  
19
     approximately  7000  eligible  clients  for  each  legal  aid  lawyer.1  
20
            21.     In  many  circumstances  the  programs  that  were  funded  by  the  State  Bar  were  
21

22
     discouraged  or  barred  from  taking  effective  legal  action  in  the  interest  of  low  income  and  
23   vulnerable  populations  based  on  the  source  or  method  of  allocation  of  funding.    Compare  
24
     Legal  Services  Corporation  v.  Velazquez    531  U.S.  533  (2001) (impermissible viewpoint
25
     discrimination to restrict legal representation to prevent advising clients that certain
26
     laws are unconstitutional).  Many  programs  were  funded  indirectly  by  state  bar  dues  and  
27

28
     1  See  Legal  Aid  in  the  Community,  California  Commission  on  Access  to  Justice  (October  
     31,  2014).  
     2  The  California  Commission  on  Judicial  Performance  has  twice  requested  a  formal  

                                                             5
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     by  private  donations  of  the  state  bar  members  and  members  of  the  public.    Although  there  
1
     is  no  government  speech  at  issue,  defendants  contend  that  those  who  had  accepted  the  
2

3    state  bar  funding  had  been  restricted  and  discouraged  from  asserting  certain  valid  legal  
4    viewpoints.    (in  part  based  on  Cal  Bus  &  Prof  Code  §6031  (b)).    The  State  Bar  has  primarily  
5
     been  a  unified  state  bar  (i.e.  regulatory  function  and  trade  association  type  functions  
6
     performed  by  the  same  entity).  
7

8           Disability  Retaliation/Discrimination  and  Refusal  to  Allow  Reasonable  
9           Accommodation.  
              
10
            22.   Defendant  has  document  disability  and  requested  disability  accommodation  
11

12
     including  (when  she  was  admitted  to  the  hospital).    A  default  was  entered  by  State  Bar  

13   without  ruling  on  defendant’s  request  for  accommodation.    The  request  for  disability  
14
     accommodation  was  unreasonably  and  maliciously  denied.  
15
            23.     The  State  Bar’s  refusal  to  provide  necessary  urgently  needed  accommodation  
16

17
     during  a  national  pandemic  was  outrageous  and  retaliatory.  

18          24.     Then,  without  allowing  disability  accommodation  mandated  by  federal  law,  
19
     the  tribunal  entered  an  order  of  inactive  enrollment  harming  both  defendants  and  clients.    
20
     (Exhibit  ___).      The  order  therein  improperly  claims  that  no  opposition  was  filed  by  
21

22
     defendants.    (See  opposition  Exhibit  __).  
23          25.     The  tribunal  prevents  attorneys  from  review  of  denial  of  disability  
24
     accommodations  by  a  court  of  record  (unlike  all  other  persons  with  disabilities  under  state  
25
     law  and  rules  of  court).    It  is  purporting  to  act  under  rogue  ad  hoc  rules  that  are  not  
26

27   approved  by  the  California  Supreme  Court  or  the  Board  of  Trustees.    An  accommodation  
28   for  disability  has  nothing  to  do  with  the  merits  but  rather  allows  fair  and  reasonable  access  

     in  court  proceedings.  

                                                              6
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             26.       The  tribunal  completely  lacks  jurisdiction  because  it  is  acting  in  violation  of  28  
1
     U.S.C.  §  1446  (d).    There  has  never  been  any  remand  order  filed  in  the  state  tribunal  from  
2

3    any  removal  filed  by  defendants.    Inherently  federal  jurisdiction  has  always  existed.    See  
4    Bucy  v.  Nevada  Const.Co.,  125  F.2d  213,  217-­‐‑218  (9th  Cir.  1942).  (“The  proper  procedure  
5
     for  carrying  the  order  of  remand  into  execution  would  be  by  filing  of  a  certified  copy  of  
6
     the  order  in  the  state  court….The  order  is  not  self-­‐‑executing  and  the  statute  does  not  so  
7

8    state.”  Id.  at  217.    See  also  Spanair  S.A.  v.  McDonnell  Douglas  Corp.,  172  Cal.App.4th  348  
9    (Cal.  2009).  
10
     5  Of  California  Senate  Bill  x  211  (“Section  5of  SBX2  11”)  is  in  Direct  Conflict  with  the  
11
     Supremacy  Clause  of  the  United  States  Constitution,    Section  1  of  the  Civil  Rights  Act  of  
12   1866,  and  California  Constitution  Art.  VI  Sections  17  and  21.  
13             
14
             27.       On  February  20,  2009  the  California  Legislature  repealed  California  
15
     Government  Code  §  53200.3  by  enactment  of  California  Senate  Bill  x211.    California  
16

17
     Government  Code  §  specified  that  judges  of  the  superior  courts  whose  salaries  are  paid  

18   either  in  whole  or  in  part  from  the  salary  fund  of  the  county  are  county  employees.    
19
     Section  5  of  SBX2  11  purports  to  provide  retroactive  immunity  to  government  entities,  
20
     officers,  employees,  and  judges  from  personal  liability,  disciplinary  action,  or  criminal  
21

22
     prosecution  notwithstanding  the  United  States  Constitution  or  federal  law.    It  is  in  direct  
23   conflict  with  section  1  of  the  Civil  Rights  Act  and  the  Supremacy  Clause  of  the  United  
24
     States  Constitution.    Section  5  of  SBX2  11  attempts  to  revise  or  amend  the  state  constitution  
25
     without  use  of  the  proper  procedures.    See  Legislature  v.  Eu  54  Cal.3d  492,  506-­‐‑512    (Cal.  
26

27   1991),  Amador  Valley  Joint  Union  High  School  v.  State  Bd.  Of  Equalization  22  Cal.3d  208    
28   (Cal.  1978).  



                                                              7
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            28.     California  Constitution  Article  VI,  Section  17  mandates  that  if  a  judge  accepts  
1
     public  employment  or  office  there  is  an  automatic  resignation  of  the  judge.    California  
2

3    Constitution  Article  VI,  Section  21  provides  that  on  stipulation  of  the  parties  litigant  the  
4    court  may  order  a  cause  to  be  tried  by  a  temporary  judge  who  is  a  member  of  the  State  
5
     Bar,  sworn  and  empowered  to  act  until  final  determination  of  the  cause.    See  also  See  
6
     Rooney  v.  Vermont  Investment  Corporation  (Cal.  1973)  10  Cal.3d  351,  People  v.  Tijerina  
7

8    (Cal.  1969)  1  Cal.3d  41.  The  controversial  “super  immunity  provision”  is  not  published  in  
9    the  California  Government  Code.    Therefore,  it  is  not  accessible  to  the  general  public.      
10
            29.     Clients  of  defendants  object  to  section  5  of  SBX2  11  and  to  the  involuntary  
11

12
     waiver  of  federal  rights  and  claim  they  have  been  subjected  to  discriminatory  retaliation  

13   based  on  their  objections.    They  claim  that  the  person  who  was  conducting  the  proceeding  
14
     was  required  to  make  disclosure  and  obtain  their  consent.    They  also  claim  that  rather  than  
15
     hiding  the  unconstitutional  condition  that  there  should  have  been  implementation  of  a  
16

17
     disclosure  and  consent  procedure  comparable  to  the  magistrate  judge  system  of  the  

18   federal  court  pending  special  judicial  election.    The  clients  and  their  attorneys  (the  
19
     defendants)  claim  they  are  being  subjected  to  discriminatory  retaliation  for  making  valid  
20
     and  proper  constitutional  objections.  
21

22
            30.     Defendants  claim  that  the  regulatory  and  investigating  actions  against  them  is  
23   discriminatory  and  bias  and  is  being  conducted  in  a  manner  to  intentionally  cause  harm  to  
24
     defendants,  their  clients,  and  the  public  interest.  
25
     Historical  View  of  Public  Employment  of  Judges  of  the  Courts  of  Record  
26

27          31.     In  1988  Hispanics  in  the  County  of  Los  Angeles  filed  a  voting  rights  action  
28   seeking  to  redraw  the  district  for  the  Los  Angeles  County  Board  of  Supervisors.    They  

     claimed  that  the  boundaries  were  gerrymandered  to  dilute  Hispanic  voting  strength.    

                                                            8
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     Garza  v.  County  of  Los  Angeles,  918  F.2d  763  (9th  Cir.  1990)  confirmed  that  the  County  had  
1
     engaged  in  intentional  discrimination  vote  dilution  methods.  The  county  is  covered  under  
2

3    the  bail  in  mechanism  under  section  3  (c)  of  the  Voting  Rights  Act.      
4           32.     In  the  same  year  Garza  was  filed  the  California  voters  overwhelmingly  
5
     passed  proposition  97,  a  legislative  constitutional  amendment,  to  permit  judges  of  the  
6
     courts  of  record  to  accept  part-­‐‑time  teaching  positions.    The  November  8,  1988  ballot  
7

8    pamphlet  informed  voters  that  public  employment  of  a  judge  of  the  courts  of  record  was  
9    prohibited  and  a  constitutional  amendment  was  needed  to  allow  this  limited  exception  for  
10
     part  time  teaching.    (Exhibit  3).  
11

12
            33.     Two  days  after  the  election,  on  November  10,  1988,  county  counsel  of  the  

13   County  of  Los  Angeles  provided  a  legal  opinion  that  judges  of  courts  of  record  could  
14
     remain  county  employees  and  officials  or  quasi  officials  in  conflict  with  the  state  
15
     constitution.  (Exhibit  4).    This  opinion  directly  conflicted  with  the  constitutional  
16

17
     amendment  just  passed  and  existing  provisions  of  the  state  constitution.  See  Cal.  Const.  

18   Art  VI  §  §  17,  21,    Alex  v.  County  of  Los  Angeles,  35  Cal.  App.3d  994  (Cal.  1973),  Abbott  v.  
19
     McNutt,  218  Cal.  225  (Cal.  1933),  Cal.  Attorney  General  Opn  83-­‐‑607,  66  Cal.  Attorney  
20
     General  440.  
21

22
            34.     County  counsel  went  on  to  advise  that  even  if  the  public  employment  was  not  
23   authorized  by  statute,  that  the  county  could  act  “so  long  as  the  Board  of  Supervisors  finds  
24
     that  there  is  a  benefit  to  the  County  in  doing  so.”    It  claimed  that  “[i]t  may  be  necessary  for  
25
     the  Board  of  Supervisors  to  provide  additional  benefits  for  judges  in  the  future  in  order  to  
26

27   maintain  a  high  level  of  judicial  competence  and  performance  in  this  County.”    However,  it  was  
28   the  voters,  not  the  Board  of  Supervisors  which  elected  the  judges  to  office.    Two  years  later  

     Garza  was  decided.  Those  in  power  feared  that  the  judicial  branch  would  reflect  the  

                                                              9
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     population  of  the  state.    So,  there  began  a  push  to  unify  the  trial  courts  which  would  
1
     change  voting  in  judicial  elections  from  municipal  districts  to  countywide  elections.    The  
2

3    California  Law  Revision  Commission  warned  prior  to  trial  court  unification  that  there  could  
4    be  serious  violations  of  the  Voting  Rights  Act  particularly  in  large  Counties  such  as  Los  
5
     Angeles.    The  county  then  offered  its  unconstitutional  financial  “incentive”  to  have  judges  
6
     of  the  municipal  court  vote  in  favor  of  unification  which  would  increase  their  
7

8    compensation.  
9    Voting  Rights  Class  Action    
10
             35.     On  March  21,  2012  and  on  the  same  day  the  Superior  Court  of  the  County  of  
11

12
     Los  Angeles  suspended  it  local  rules  and  commenced  suspending  official  court  reporting  

13   services  in  civil  cases,    the  clients  of  the  law  office  of  defendant  filed  a  case  in  the  Eastern  
14
     District,  with  class  based  allegations  entitled:    THE  LAW  OFFICES  OF  NINA  RINGGOLD  
15
     AND  ALL  CURRENT  CLIENTS  THEREOF  on  their  own  behalves  and  all  similarly  situated  
16

17
     persons  v.  JERRY  BROWN  in  his  Individual  and  Official  Capacity  as  Governor  of  the  State  of  

18   California  and  in  his  Individual  and  Official  Capacity  as  Former  Attorney  General  of  the  State  of  
19
     California;  KAMALA  HARRIS  in  her  Individual  and  Official  Capacity  as  Current  Attorney  
20
     General  of  the  State  of  California,    COMMISSION  ON  JUDICIAL  PERFORMANCE  OF  THE  
21

22
     STATE  OF  CALIFORNIA  as  a  state  agency  and  constitutional  entity,  ELAINE  HOWLE  in  her  
23   Individual  and  Official  Capacity  as  California  State  Auditor  and  DOES  1-­‐‑10,  Defendants  (USDC  
24
     12-­‐‑cv-­‐‑00717  JAM-­‐‑JFM).    The  case  involves  claims,  including  but  not  limited  to  under  the  
25
     Civil  Rights  Act  of  1866,  the  Voting  Rights  Act  of  1965  as  amended  (42  U.S.C.  §  1973),    the  
26

27   California  Political  Reform  Act.    (“VRA”  Case),  and  the  California  Whistleblower  
28   Protection  Act  (Cal.  Govt  Code  §  8547  et.  seq.).    



                                                               10
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            36.     Clients  of  the  law  office  (VRA  members)  are  identified  as  representative  
1
     voters  in  the  State  of  California.    The  case  seeks  relief  as  to  the  involuntary  waiver  of  rights  
2

3    under  federal  law  and  the  United  States  Constitution  (including  the  Supremacy  Clause),  
4    and  California  Constitution  Article  VI,  Section  17  and  21  compelled  by  section  5  of  SBX2  
5
     11.    The  clients  of  the  law  office  are  not  challenging  judicial  pay  or  seeking  disciplinary  
6
     action  as  appears  indicated  by  opinions  of  the  California  Commission  on  Judicial  
7

8    Performance.2    Instead,  they  are  seeking  a  monitored  judicial  election  in  local  districts  that  
9    existed  before  trial  court  unification  under  the  Voting  Rights  Act  of  1965  as  amended,  
10
     appointment  of  a  three-­‐‑judge  court  outside  the  State  of  California,  appointment  of  
11

12
     independent  counsel  (of  the  office  of  the  inspector  general  to  provide  an  opinion),  

13   implementation  of  disclosure  and  consent  procedures  in  all  court  proceedings,  and  other  
14
     relief  under  federal  civil  rights  law.  As  to  the  Commission  on  Judicial  Performance  the  
15
     case  is  requesting  that  it  make  its  opinions  public  and  publish  them  on  a  public  website.    
16

17
     They  are  also  seeking  the  appointment  of  a  public  trustee  from  the  office  of  the  inspector  

18   general.    The  VRA  Case  also  requests  that  independent  funds  be  made  available  to  the  law  
19
     office  “  for  information  and  training  and  legal  services  in  underrepresented  communities  
20
     and  that  portion  of  the  funds  come  from  the  Sargent  Shiver  Civil  Counsel  Act  or  the  
21

22
     California  Community  Services  Block  Grant  Program.”    The  case  is  now  pending  in  the  
23   United  States  Court  of  Appeals  for  the  Ninth  Circuit.    (USCA  9th  Cir.  17-­‐‑16269).  
24

25

26

27
     2  The  California  Commission  on  Judicial  Performance  has  twice  requested  a  formal  
28   opinion  from  the  State  Attorney  General.    The  commissions’  opinions  forwarded  to  the  
     Office  of  the  State  Attorney  General  dated  April  3,  2009  and  May  23,  2011  indicates  that  
     section  5  of  SBX2  11  is  unconstitutional.    

                                                             11
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             37.     VRA  members  are  racial  and  language  minorities  who  today  are  expected  to  
1
     involuntarily  waive  rights  pertaining  to  racial  equality  and  the  benefit  of  the  Supremacy  
2

3    Clause  due  to  the  evitable  outcome  of  years  of  intentional  discrimination  that  deprived  
4    Californians  of  the  ability  to  elect  a  qualified  and  diverse  judiciary  that  reflects  the  
5
     population  of  the  state.    VRA  members  and  their  counsel  do  not  consent  to  make  any  
6
     involuntary  waiver  in  pending  state  court  proceedings  and  object  to  the  lack  of  disclosure  
7

8    of  the  unconstitutional  condition.  
9            38.     The  VRA  Case  also  claims  that  the  California  Vexatious  Litigant  Statute  has  
10
     been  discriminatorily  applied  as  a  form  of  viewpoint  discrimination  and  retaliation  and  to  
11

12
     bar  access  to  the  court  as  to  federal  claims.      

13   Discriminatory  and  Bias  In  The  Regulatory  And  Investigative  Procedures/  And  Void  
14
     Disciplinary  Charge  
15
             39.     The  regulatory  and  investigative  procedures  of  plaintiffs  are  in  conflict  with  
16

17
     defendants’  exercise  of  rights  under  the  Civil  Rights  Act  of  1866  and  federal  disability  law  

18   and  is  intended  to  interfere  with  the  exercise  of  rights  protected  under  the  Act.    This  
19
     includes  by  intentionally  interfering  with  defendant  and  clients  effort  to  seek  review  in  the  
20
     United  States  Supreme  Court.    And,  attempting  to  have  defendant  involuntarily  enrolled  
21

22
     as  an  inactive  member  of  the  bar  on  the  day  that  the  opening  brief  was  filed  in  the  Ninth  
23   Circuit  in  the  voting  rights  case.    This  the  tribunal  has  persistently  acted  when  it  lacks  
24
     jurisdiction  under  federal  law  and  when  it  is  proceeding  in  a  discriminatory  manner  by  
25
     denying  disability  accommodation  under  rules  and  procedures  not  authorized  by  state  or  
26

27   federal  law  and  not  authorized  by  rules  and  procedures  established  by  the  California  
28   Supreme  Court  or  Board  of  Trustees.  



                                                                   12
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            40.     Plaintiffs  have  acted  in  bad  faith  to  discourage  the  exercise  of  protected  rights  
1
     and  failed  to  disclose  or  acknowledge  the  irreconcilable  conflict  caused  by  California  
2

3    Business  and  Professions  Code  Section  6001.1  and  6031  (b).  
4    Irreconcilable  Conflict  Between  California  Business  And  Professions  Code  §  6100.1  And    
5    California  Business  And  Professions  Code  §6031  
6                                                        
           41.    The  State  Bar  Act  was  amended  effective  January  1,  2012  to  add  California  
7

8    Business  and  Professions  Code  §  6001.1.    For  the  first  time  it  specified  that  protection  of  
9    the  public  interest  is  paramount  when  other  interests  are  sought  to  be  promoted.    
10
              Protection  of  the  public  shall  be  the  highest  priority  for  the  State  Bar  of  
11
            California  and  the  board  of  trustees  in  exercising  their  licensing,  regulatory,  
12          and  disciplinary  functions.  Whenever  the  protection  of  the  public  is  
13          inconsistent  with  other  interests  sought  to  be  promoted,  the  protection  of  the  
14          public  shall  be  paramount.  
              
15
            42.    In  conflict  with  California  Business  and  Professions  Code  §  6001.1  and  added  
16

17
     to  the  State  Bar  Act  in  1984  California  Business  and  Professions  Code  §  6031  (b)  states  as  

18   follows:  
19
            (b)  Notwithstanding  this  section  or  any  other  provision  of  law,  the  board  
20          shall  not  conduct  or  participate  in,  or  authorize  any  committee,  agency,  
21          employee,  or  commission  of  the  State  Bar  to  conduct  or  participate  in  any  
22
            evaluation,  review,  or  report  on  the  qualifications,  integrity,  diligence,  or  
            judicial  ability  of  any  specific  justice  of  a  court  provided  for  in  Section  2  or  3  
23
            of  Article  VI  of  the  California  Constitution  without  prior  review  and  
24
            statutory  authorization  by  the  Legislature.  
25            
26
            43.     Section  6031  (b)  is  a  prior  restraint  on  speech.    A  prior  restraint  on  expression  
27
     has  a  heavy  presumption    against  is  validity.    See  Carroll  v.  Princess  Anne,  393  U.S.  175,  
28

     181  (1968);  Bantam  Books,  Inc.  v.  Sullivan,  372  U.S.  58,  70  (1963).    Section  6031  requires  the  


                                                            13
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     State  Bar  to  obtain  a  permit  from  the  Legislature  in  order  to    evaluate,  review,  or  report  of  
1
     matters  pertaining  to  the  member’s  defense  if  it  has  anything  to  do  with  the  qualifications,  
2

3    integrity,  diligence,  judicial  ability,  of  a  justice.      A  permitting  requirement  is  a  prior  
4    restraint  on  speech  which  also  bears  a  heave  presumption  against  its  constitutionality.    See  
5
     Forsyth  County  v.  National  Movement,  505  U.S.  123,  130  (  1992),  Berger  v.  City  of  Seattle,  
6
     569  F.3d  1029  (9th  Cir.  2009).    Section  6031  (b)  regulates  the  content  of  speech.    There  no  
7

8    valid  government  interest  or  public  interests  in  keeping  void  acts,  breaches  of  public  trust,  
9    or  conduct  which  is  not  consistent  with  federal  law  or  the  United  States  or  state  
10
     constitution  secret  or  bar  use  in  a  regulatory,  investigator  proceeding  or  in  a  disciplinary  
11

12
     proceeding.    

13          44.     The  legislative  history  of  Section  6031  (b)  is  sparse.    However,  it  is  certainly  
14
     linked  to  matters  which  ultimately  led  to  the  United  States  Supreme  Court’s  decision  in  
15
     Keller  v.  State  Bar  of  California,  47  Cal.3rd  1152  (1989),  certiorari  granted,  493  U.S.  806,  
16

17
     reversed  496  U.S.  1  (1990).    It  is  also  related  to  the  other  racial  and  language  minorities  

18   objecting  to  vote  dilution  methods  (including  in  judicial  elections)  in  the  state.    For  
19
     example,  one  of  the  sparks  for  the  “Keller  disputes”  and  use  of  state  bar  dues  was  that  the  
20
     state  bar  had  used  funds  to  distribute  materials  to  local  bar  associations  in  order  to  assist  
21

22
     judges  in  their  1982  retention  election  campaigns.    This  was  under  the  guise  of  financing  a  
23   “public  information  project”  but  linked  to  a  particular  ideology.    See  Keller  v.  State  Bar  of  
24
     California,  47  Cal.  1142,  1156-­‐‑1157,  1171.    The  objection  included  the  circulation  of  
25
     materials  in  1982  expressing  the  idea  that  the  only  legitimate  basis  for  refusing  to  retain  a  
26

27   justice  was  incapacity  or  misconduct.    Id.    Then  in  1984  Section  6031  (b)  was  born  which  
28   prohibited  the  State  Bar  and  members  involved  in  disciplinary  actions  from  addressing  



                                                             14
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     these  matters.    It  is  also  indirectly  related  to  the  1991  changes  in  the  method  by  attorney  
1
     could  obtain  review  of  proceedings  in  the  State  Bar  Court.  
2

3    California  Senate  Bill  731,  California  Legislature’s  Rejection  Of  Expansion  Of  CCP    
4
     §  391.7  To  Include  Represented  Parties  Or  Attorneys  
               
5
             45.     In  retaliation  for  representation  of  clients  on  matters  which  relate  to  judicial  
6
     conduct  in  contradiction  to  express  statutory  authority  Ringgold  was  deemed  a  vexatious  
7

8    litigant  in  the  first  instance  in  a  state  appellate  court.  This  then  sprawled  and  appeared  to  
9    encompass  clients  of  the  law  office,  any  attorney  appearing  to  be  associated  with  the  
10
     clients,  or  any  persons  associated  with  the  VRA  case.    This  was  irrespective  of  whether  a  
11

12
     motion  had  been  filed  in  the  trial  court  to  make  such  determination.      

13            46.      California  Senate  Bill  731  (“SB     731”)  confirms  that  prior  to  January  1,  2012  a  
14
     justice  of  a  state  appellate  court  did  not  have  jurisdiction  to  enter  a  vexatious  litigant  order  
15
     in  the  first  instance  in  the  appellate  court.  
16

17
              47.      Prior  to  SB  731,  CCP  §  391.7  only  allowed  a  judge  to  enter  a  prefiling  order.    It  

18   did  not  authorize  a  “justice”  or  “presiding  justice”  (a)  to  act  in  the  first  instance  in  the  state  
19
     appellate  court,  (b)  without  a  right  of  appeal,  (c)  without  a  statutory  due  process  motion  
20
     for  security.      
21

22
              48.      SB  731  was  not  effective  until  January  1,  2012  and  at  this  point  it  adds  the  
23   words  “presiding  justice.”    To  the  present  date  CCP  §  391.7  it  does  not  apply  to  persons  
24
     who  are  not  in  propria  persona,  does  not  allow  vexatious  litigant  determination  to  be  
25
     made  in  the  first  instance  in  a  state  appellate  court,  it  does  not  apply  to  represented  
26

27   parties,  does  not  apply  to  attorneys  who  happened  to  be  representing  other  co-­‐‑parties  in  a  
28   case,  does  not  apply  to  represented  or  non-­‐‑represented  parties  never  determined  to  be  

     vexatious  litigants  by  a  statutory  due  process  motion  for  security  filed  in  the  trial  court  by  

                                                                15
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     a  defendant.3    It  does  not  allow  the  targeting  of  certain  persons  who  will  not  be  allowed  
1
     appellate  review  of  an  initial  vexatious  litigant  determination.    It  does  not  apply  when  
2

3    there  is  no  new  litigation.      
4              49.      The  California  Vexatious  Litigant  Statute  does  not  apply  to  attorneys.    See  
5
     Shalant  v.  Girardi,  51  Cal.4th  1164  (Cal.  2011),  Weissman  v.  Quail  Lodge,  Inc.  179  F.3d  1194  
6
     (9th  Cir.  1999)  (the  vexatious  litigant  doctrine  was  never  intended  to  control  an  attorney’s  
7

8    conduct.).      
9              50.      The  California  Legislature  did  not  make  SB  731  retroactive.    It  did  not  state  it  
10
     was  “clarifying”  any  prior  law.    SB  731  was  not  urgent  legislation.    It  plainly  changes  the  
11

12
     law  on  its  effective  date  January  1,  2012.    The  void  orders  entered,  in  the  absence  of  

13   statutory  authority  prior  to  January  1,  2012,  remain  void.  
14
               51.      The  California  Legislature  squarely  rejected  the  attempt  to  expand  the  
15
     California  Vexatious  Litigant  Statute  to  persons  represented  by  counsel  and  attorneys.    
16

17
     (See  California  Senate  Bill  603  “SB  603).      

18             52.      Ultimately  plaintiffs  have  no  legitimate  basis  to  claim  that  pursuit  of  claims  
19
     under  the  Civil  Rights  Act  of  1866  or  federal  rights  are  an  unjust  cause.    Because  the  
20
     entirety  of  the  conduct  as  to  the  vexatious  litigant  issue  solely  relates  to  “justice”  
21

22
     misconduct  
23   Double  Jeopardy  
24
               53.      There  is  no  authority  which  allows  a  represented  party  or  an  attorney  
25
     practicing  law  in  the  normal  course  of  their  profession  to  be  deemed  a  vexatious  litigant.    
26

27   Therefore,  the  only  construction  of  application  of  CCP  §  391.7  or  any  provision  of  the  
28


     3     See  Flores  v.  Georgeson,  191  Cal.App.4th  881  (Cal.  2011).  

                                                               16
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     statute  to  defendants  is  by  contempt.4    As  discussed  above  with  respect  to  SB  731  and  603,  
1
     there  never  existed  jurisdiction  for  the  order  against  Ringgold  in  the  first  instance  in  the  
2

3    state  appellate  court  for  this  order  to  be  morph  into  a  vexatious  litigant  order  or  pre-­‐‑filing  
4    order  against  clients  of  the  law  office  or  counsel  of  a  separate  law  office.  
5
             54.      The  plaintiffs  seek  to  re-­‐‑impose  an  alleged  contempt  in  violation  of  the  Fifth  
6
     Amendment  (double  jeopardy)  under  a  different  label.    See  Sanabria  v.  United  States,  437  
7

8    U.S.  54  68  (1978)(bar  further  prosecution  on  any  aspect  of  same  count  and  bars  appellate  
9    review  of  trial  court  error),  Crist  v.  Bretz,  437  U.S.  28,  33038  (1978)  (Fifth  and  Fourteenth  
10
     Amendment  is  applicable),  Burks  v.  United  States,  437  U.S.  1,  11  (1978)  (double  jeopardy  
11

12
     forbids  a  second  trial  for  purpose  of  allowing  prosecution  another  chance).    At  the  same  

13   time,  plaintiffs  are  aware  that  Ringgold  would  be  prohibited  from  presenting  a  defense  
14
     because  the  prosecutor  is  barred  from  evaluating  evidence  pertaining  to  a  “justice”.  
15
     Defendants  are  entitled  to  the  due  process  and  process  protections  afforded  by  law.    See    
16

17
     Wanke,  Industrial,  Commercial,  Residential,  Inc.  v.  Keck  (2012)  209  Cal.App.4th  1151,  1162-­‐‑

18   1174  (contempt  proceedings  can  be  initiated  by  the  court,  the  government,  or  a  private  
19
     party);  Conn  v.  Superior  Court  (1987)  196  Cal.App.3d  774,  784  (for  contempt,  one  needs  a  
20
     valid  order);  People  v.  Gonzalez  (1996)  12  Cal.4th  804,  816-­‐‑817  [“this  type  of  proceeding  is  
21

22
     considered  quasi-­‐‑criminal”).    At  the  same  time  they  conceal  favorable  evidence  to  obtain  a  
23   certain  result.    (Exhibit  1).  
24
                                            APPLICABLE  STANDARDS  
25
               
26

27

28
     4  In  fact,  if  construed  as  such,  there  has  been  an  acquittal  on  two  occasions:    May  12,  2010  
     and  August  2,  2010.  (that  the  order  was  inapplicable  to  Ringgold  as  an  attorney).  

                                                             17
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             55.     Pleading  Standard  And  Request  for  Evidentiary  Hearing.    A  defendant  is  
1
     not  required  to  produce  evidence  on  filing  a  notice  of  removal.    A  notice  of  removal  only  
2

3    requires  a  “a  short  and  plain  statement  of  the  grounds  for  removal.”  28  U.S.C.  §  1446  (a)  
4    adopts  a  notice  pleading  standard  from  Rule  8  of  the  Federal  Rules  of  Civil  Procedure.  See  
5
     White  v.  Wellington,  627  F.2d  582,  588  (2nd  Cir.  1980),  Rachel  v.  
6
     State  of  Georgia,  342  F.2nd  336,  340  (5th  Cir.  Aff’d,  384  U.S.  780  (1966);  Dart  Cherokee  
7

8    Basin  Operating  Company,  LLC  v.  Owens,  135  S.Ct.  547,  551  (2014).    An  evidentiary  
9    standard  is  not  applicable  and  defendant  requests  an  evidentiary  hearing  as  to  this  
10
     removal.  
11

12
             56.     Civil  Rights  Act  of  1866.    Section  1  and  3  1866  Civil  Rights  Act  allows  for  

13   removal  when  a  person  cannot  obtain  the  full  and  equal  benefit  of  all  laws  and  
14
     proceedings  for  the  security  of  persons  and  property  (as  enjoyed  by  white  citizens).  It  bars  
15
     discriminatory  penalties  under  any  state  law,  statute,  ordinance,  regulation,  or  custom.    It  
16

17
     allows  removal  by  writ,  habeas  corpus,  or  other  proceeding  when  the  rights  under  Section  

18   1  of  the  Civil  Rights  Act  of  1866  cannot  be  enforced.    Section  3  has  a  refusal  to  Act  Clause.    
19
     Section  3  of  the  1866  Act  states  that  it  applies  to  “all  causes…  affecting  persons  who  are  
20
     denied  or  cannot  enforce  [1]  ‘in  the  courts’  or  [2]  ‘judicial  tribunals  of  the  State’  or  [3]  
21

22
     ‘locality’  where  they  may  be  any  of  the  rights  secured  by  them  in  the  first  section  of  this  
23   act….”.    The  statute  itself  states  that  a  “cause  may  be  removed”  
24
             57.     Refusal  to  Act  under  Section  3  of  the  1866  Act  and  28  U.S.C.  §  1443  (2).    
25
     Here,  removal  is  under  the  Refusal  to  Act  Clause  under  both  statutes.  The  Supreme  Court  
26

27   as  well  as  other  Courts  of  Appeal  following  the  guidance  of  the  court  have  determined  
28   that  the  Refusal  to  Act  Clause  of  §  1443  (2)  applies  to  state  officers.    (and  in  this  case  state  

     officers  of  the  court  who  are  charged  with  the  duty  to  uphold  the  federal  and  state  

                                                               18
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     constitution  and  federal  laws  pertaining  to  equal  civil  rights).    In  City  of  Greenwood  v.  
1
     Peacock,  384  U.S.  808,  824  fn  22  the  Supreme  Court  determined  that  that  case  did  not  
2

3    involve  the  Refusal  to  Act  Clause.    However,  the  court  determined  that  under  the  Refusal  
4    to  Act  Clause  under  28  U.S.C.  §  1443  (2)  that  removal  was  available  to  state  officers.    Id  824  
5
     fn  22.        See    Common  Cause  supra,  White  v.  Wellington  supra,  Greenberg  v.  Veteran,  889  
6
     F.2d  418  (2nd  Cir.  1989),  Detroit  Police  Lts  and  Sgts  Ass’n  v.  City  of  Detroit,  587  F.2d  556  
7

8    (6h  Cir.  1979),  Maze  v.  Tennessee  ,  2015  WL  3989125  (M.D.  Tenn  2015).  
9             58.       28  U.S.C.  §  1443  (1).    The  United  States  Supreme  Court  in  Georgia  v.  Rachel,  
10
     384  U.S.  780,  792  (1966)  held  that  the  phrase  “any  law  providing  for  the  equal  rights  of  
11

12
     citizens  of  the  United  States”  means  any  law  providing  for  specific  civil  rights  stated  in  

13   terms  of  racial  equality.  The  Court  of  Appeal  for  the  Ninth  Circuit  has  developed  a  two  
14
     prong  standard.  “First,  the  petitioners  must  assert,  as  a  defense  to  the  prosecution,  rights  
15
     that  are  given  to  them  by  explicit  statutory  enactment  protecting  equal  racial  civil  
16

17
     rights….Second,  petitioners  must  assert  that  the  state  courts  will  not  enforce  that  right,  

18   and  that  allegations  must  be  supported  by  reference  to  a  state  statute  or  a  constitutional  
19
     provision  that  purports  to  command  the  state  courts  to  ignore  the  federal  rights.”    
20
     California  v.  Sandoval,  434  F.2d  635,  636  (9th  Cir.  1971);  Patel  v.  Del  Taco,  446  F.3d  996,  998-­‐‑
21

22
     999  (2006).    In  Georgia  v.  Rachel  the  United  States  Supreme  Court  held  that  even  without  a  
23   formal  expression  of  state  law  that  removal  under  28  U.S.C.  §  1443  is  proper  when  a  
24
     facially  neutral  state  law  conflicts  with  federal  statutes  protecting  equal  racial  civil  rights.  
25
     Id.  at  804-­‐‑805.  
26

27            59.       28  U.S.C.  §  1441/1331.    The  State  Legislature  has  affirmatively  determined  that  
28   proceedings  including  those  that  are  in  non  courts  of  record  (like  the  State  Bar  Court)  or  

     court  of  record  (like  the  Supreme  Court  of  California)  are  civil  actions  or  proceedings  

                                                              19
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     which  the  issue  involves  the  California  Vexatious  Litigant  Statute.    Additionally  there  is  a  
1
     valid  legal  position  of  first  impression  concerning  28  U.S.C.  §  1441  with  respect  to  matters  
2

3    concerning  civil  rights  removal  statutes.  
4            60.     Recusal/Disqualification    Defendant  maintains  that  judicial  officers  that  have  
5
     a  financial  or  general  interest  in  the  voting  rights  case.  Should  recuse  themselves  from  the  
6
     case.    This  includes  federal  judges  who  were  former  state  court  judges  during  and  after  
7

8    trial  court  unification  in  the  State  of  California  courts  who  are  the  subject  of  fines  and/or  
9    penalties  under  the  claims  asserted  in  the  voting  rights  case.    28  U.S.C.  §  455  (a),  445  (b)  (1),  
10
     (b)(4),  (b)  (5)(iii),  and  Fourteenth  Amendment.  
11

12
                         ORGINAL  AND  REMOVAL  JURISDICTION  UNDER    
                                    THE  CIVIL  RIGHTS  ACT  OF  1866  
13
      (Thirty-­‐‑Ninth  Congress,  Sess.  I.  Ch.  31,  April  9,  1986,  An  Act  to  protect  all  Persons  in  the  
14
           United  States  in  their  Civil  Rights,  and  furnish  the  Means  of  their  Vindication)  
15           
16
             61.     All  preceding  paragraphs  and  subsequent  paragraphs  are  incorporated  by  
17
     reference.     
18

19           62.     The  Civil  Rights  Act  of  1866  is  grounded  in  the  Thirteenth  Amendment  
20   (unlike  the  Civil  Rights  Act  of  1964).    It  states  in  pertinent  part:  
21
             63.     Section  1  
22
             “That  all  persons  born  in  the  United  States  and  not  subject  to  any  foreign  
23
             power,  excluding  Indians  not  taxed,  are  hereby  to  be  citizens  of  the  United  
24
             States;  and  such  citizens,  of  every  race  and  color,  without  regard  to  any  
25           previous  condition  of  slavery  or  involuntary  servitude,  except  as  a  
26           punishment  for  crime  whereof  the  party  shall  have  been  duly  convicted,  shall  
27           have  the  same  right,  in  every  State  and  Territory  in  the  United  States,  to  make  
             and  enforce  contracts,  to  sue,  be  parties,  and  give  evidence,  to  inherit,  purchase,  
28
             lease,  sell,  hold,  and  convey  real  and  personal  property,  and  to  full  and  equal  
             benefit  of  all  laws  and  proceedings  for  the  security  of  person  and  property,  as  is  

                                                              20
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             enjoyed  by  white  citizens,  and  shall  be  subject  to  like  punishment,  pains,  and  
1
             penalties,  and  to  none  other,  any  law,  statute,  ordinance,  regulation,  or  
2            custom,  to  the  contrary  notwithstanding.”  
3      
4
     64. Section  3  

5              
6            “That  the  district  courts  of  the  United  States,  within  their  respective  districts,  shall  
             have,  exclusively  of  the  courts  of  the  several  States,  cognizance  of  all  crimes  and  
7
             offences  committed  against  the  provisions  of  this  act,  and  also,  concurrently  with  
8
             the  circuit  courts  of  the  United  States,  of  all  causes,  civil  and  criminal,  affecting  
9            persons  who  are  denied  or  cannot  enforce  in  the  courts  or  judicial  tribunals  of  the  
10           State  or  locality  where  they  may  be  any  of  the  rights  secured  to  them  by  the  first  
11           section  of  this  act;  and  if  any  suit  or  prosecution,  civil  or  criminal,  has  been  or  shall  
12
             be  commenced  in  any  State  court,  against  any  such  person,  for  any  cause  
             whatsoever,  or  against  any  officer,  civil  or  military,  or  other  person,  for  any  arrest  
13
             or  imprisonment,  trespasses,  or  wrongs  done  or  committed  by  virtue  or  under  color  
14
             of  authority  derived  from  this  act  or  the  act  establishing  a  Bureau  for  the  relief  of  
15           Freedmen  and  Refugees,  and  all  acts  amendatory  thereof,  or  for  refusing  to  do  any  
16           act  upon  the  ground  that  it  would  be  inconsistent  with  this  act,  such  defendant  shall  
17
             have  the  right  to  remove  such  cause  for  trial  to  the  proper  district  or  circuit  court  in  
             the  manner  prescribed  by  the  ‘Act  relating  to  habeas  corpus  and  regulating  judicial  
18
             proceedings  in  certain  cases,’  approved  March  three,  eighteen  hundred  and  sixty-­‐‑
19
             three,  and  all  acts  amendatory  thereof.    The  jurisdiction  in  civil  and  criminal  
20           matters  hereby  conferred  on  the  district  and  circuit  courts  of  the  United  States  shall  
21           be  exercised  and  enforced  in  conformity  with  the  laws  of  the  United  States,  so  far  as  
22
             such  laws  are  suitable  to  carry  the  same  into  effect;  but  in  all  cases  where  such  laws  
             are  not  adapted  to  the  object,  or  are  deficient  in  the  provisions  necessary  to  furnish  
23
             suitable  remedies  and  punish  offences  against  law,  the  common  law,  as  modified  
24
             and  changed  by  constitution  and  statute  of  the  State  wherein  the  court  having  
25           jurisdiction  of  the  cause,  civil  or  criminal,  is  held,  so  far  as  the  same  is  not  
26           inconsistent  with  the  Constitution  and  laws  of  the  United  States,  shall  be  extended  
27           to  and  govern  said  courts  in  the  trial  and  disposition  of  such  cause,  and,  if  of  a  
             criminal  nature,  in  the  infliction  of  punishment  on  the  party  found  guilty.”  
28
       



                                                             21
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     65. The  conduct  alleged  herein  violates  Section  1  of  the  Act  and  this  court  has  original  
1
        jurisdiction  exclusive  of  the  state  court.    Defendants  have  the  right  to  remove  the  
2

3       proceedings  to  this  court  with  respect  to  conduct  in  violation  of  the  act  and  due  to  their  
4       refusal  to  act  inconsistent  with  the  act  (i.e.  by  acquiescing  to  an  involuntary  waiver  of  
5
        federal  rights  including  rights  protected  under  the  Supremacy  Clause).  
6
     66. The  court  also  has  independent  jurisdiction  under  the  Supremacy  Clause,  28  U.S.C.  §  
7

8       1331  and  28  U.S.C.  §  1343  (a)(1)-­‐‑(4).  
9                 REMOVAL  UNDER  THE  REFUSAL  TO  ACT  CLAUSE  OF  §  3  OF  THE    
10                    CIVIL  RIGHTS  ACT  OF  1866  AND    28  U.S.C.  §  1443  (2)  
11             
12   67. All  preceding  paragraphs  and  subsequent  paragraphs  are  incorporated  by  reference.
13
               
14
              
15
     68. Both  civil  rights  acts  allow  removal  under  a  Refusal  to  Act  Clause.    The  Refusal  to  Act  
16

17
        Clause  of  §  3  of  the  Civil  Rights  Act  of  1866  applies  to  both  persons  or  any  officers.    

18      (jurisdiction  exists  “of  all  causes,  civil  and  criminal,  affecting  persons  who  are  denied  or  
19
        cannot  enforce  in  the  courts  or  judicial  tribunals  of  the  State  or  locality  where  there  may  
20
        be  any  of  the  rights  secured  by  them  by  the  first  section  of  this  act…  or  against  any  
21

22
        officer….).  
23   69. Defendants  refuse  to  involuntarily  waive  their  rights  under  federal  law.    Attorneys  as  
24
        officers  of  the  court  are  an  essential  tool  to  effectuate  the  enforcement  of  Section  5  of  
25
        SBX2  11  by  their  action  or  inaction.    They  have  a  mandatory  duty  to  uphold  the  
26

27      constitution  and  to  advise  their  clients  whether  to  agree  to  a  waiver  of  rights  before  
28      proceeding  before  judge  pro  tempore  (i.e.  here  a  judge  subject  to  self-­‐‑effectuating  

        constitutional  resignation).    The  California  Supreme  Court  Committee  on  Judicial  

                                                             22
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        Ethics  Opinions  recently  addressed  Cal.  Constitution  Art.  VI    §  17  lending  support  to  
1
        the  argument  of  the  defendant  and  members  of  the  VRA  case  that  a  constitutional  
2

3       resignation  has  occurred,  which  warrants  the  judicial  election  sought  in  the  VRA  case.    
4       (May  2017  CJEO  Formal  Opinion  2017-­‐‑011).  
5
          
6
          
7

8         
9                                     REMOVAL  UNDER  28  U.S.C.  §  1443  (1)  
10
     A.    IDENTIFICATION  OF  FEDERAL  LAW  PERTAINING  TO  EQUAL  CIVIL  RIGHTS  
11

12
     70. Civil  Rights  Act  of  1866,  42  U.S.C.  §  1981,  Thirteenth  Amendment  

13             
14                  42  U.S.C.  Section  1981  states:      
               
15
                    a)  Statement  of  equal  rights  
16
                    All  persons  within  the  jurisdiction  of  the  United  States  shall  have  the  
17           same  right  in  every  State  and  Territory  to  make  and  enforce  contracts,  to  sue,  
18           be  parties,  give  evidence,  and  to  the  full  and  equal  benefit  of  all  laws  and  
19           proceedings  for  the  security  of  persons  and  property  as  is  enjoyed  by  white  
20
             citizens,  and  shall  be  subject  to  like  punishment,  pains,  penalties,  taxes,  
             licenses,  and  exactions  of  every  kind,  and  to  no  other.  
21
                      
22                  (b)  “Make  and  enforce  contracts”  defined  
23                    
24                  For  purposes  of  this  section,  the  term  “make  and  enforce  contracts”  
25
             includes  the  making,  performance,  modification,  and  termination  of  contracts,  
             and  the  enjoyment  of  all  benefits,  privileges,  terms,  and  conditions  of  the  
26
             contractual  relationship.  
27
                      
28                  (e)  Protection  against  impairment  
                      


                                                               23
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                     The  rights  protected  by  this  section  are  protected  against  impairment  
1
            by  nongovernmental  discrimination  and  impairment  under  color  of  State  law.  
2                      
3    71. Civil  Rights  Act  of  1871  also  known  as  the  “Ku  Klux  Klan  Act”,  
4
            42  U.S.C.  §  1983,  Fourteenth  Amendment  
           
5
            Civil  action  for  deprivation  of  rights  
6
              
7           Every  person  who,  under  color  of  any  statute,  ordinance,  regulation,  
8           custom,  or  usage,  of  any  State  or  Territory  or  the  District  of  Columbia,  
9           subjects,  or  causes  to  be  subjected,  any  citizen  of  the  United  States  or  other  
            person  within  the  jurisdiction  thereof  to  the  deprivation  of  any  rights,  
10
            privileges,  or  immunities  secured  by  the  Constitution  and  laws,  shall  be  liable  
11
            to  the  party  injured  in  an  action  at  law,  suit  in  equity,  or  other  proper  
12          proceeding  for  redress,  except  that  in  any  action  brought  against  a  judicial  
13          officer  for  an  act  or  omission  taken  in  such  officer’s  judicial  capacity,  
14          injunctive  relief  shall  not  be  granted  unless  a  declaratory  decree  was  violated  
            or  declaratory  relief  was  unavailable.  For  the  purposes  of  this  section,  any  Act  
15
            of  Congress  applicable  exclusively  to  the  District  of  Columbia  shall  be  
16
            considered  to  be  a  statute  of  the  District  of  Columbia.  
17            
18   72. Civil  Rights  Act  of  1871  also  known  as  the  “Ku  Klux  Klan  Act”,  42  U.S.C.  §  1983,  
19       Fifth  Amendment  (Double  Jeopardy)  
20
              
            The  Double  Jeopardy  Clause  aims  to  protect  against  the  harassment  of  an  individual  
21
            through  successive  prosecutions  of  the  same  alleged  act,  to  ensure  the  significance  
22          of  an  acquittal,  and  to  prevent  the  state  from  putting  the  defendant  through  the  
23          emotional,  psychological,  physical,  and  financial  difficulties  that  accompany  
24          multiple  proceedings  for  the  same  alleged  offense.    
25
       
     73. Civil  Rights  Act  of  1871  also  known  as  the  “Ku  Klux  Klan  Act”,  42  U.S.C.  §  1983,  
26
         Fifteenth  Amendment  (Voting),  Voting  Rights  Act  of  1965  As  Amended  
27
              
28       As  discussed  above,  plaintiffs  intent  is  to  interfere  with  defendants  and  their  clients  
         right  to  proceed  with  the  VRA  Case.  


                                                        24
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1
     74. Civil  Rights  Act  of  1871  also  known  as  the  “Ku  Klux  Klan  Act”,  
2           42  U.S.C.  §  1985,  Fourteenth  Amendment  
3             
4
            42  U.S.C.  Section  1985  states:  
              
5
            Conspiracy  to  interfere  with  civil  rights  
6
              
7           (1)  Preventing  officer  from  performing  duties  
8           If  two  or  more  persons  in  any  State  or  Territory  conspire  to  
9           prevent,  by  force,  intimidation,  or  threat,  any  person  from  accepting  or  
            holding  any  office,  trust,  or  place  of  confidence  under  the  United  
10
            States,  or  from  discharging  any  duties  thereof;  or  to  induce  by  like  
11
            means  any  officer  of  the  United  States  to  leave  any  State,  district,  or  
12          place,  where  his  duties  as  an  officer  are  required  to  be  performed,  or  
13          to  injure  him  in  his  person  or  property  on  account  of  his  lawful  
14          discharge  of  the  duties  of  his  office,  or  while  engaged  in  the  lawful  
            discharge  thereof,  or  to  injure  his  property  so  as  to  molest,  interrupt,  hinder,  
15
            or  impede  him  in  the  discharge  of  his  official  duties;  
16
              
17          (2)  Obstructing  justice;  intimidating  party,  witness,  or  juror  
18          If  two  or  more  persons  in  any  State  or  Territory  conspire  to  deter,  
19          by  force,  intimidation,  or  threat,  any  party  or  witness  in  any  court  of  the  
20
            United  States  from  attending  such  court,  or  from  testifying  to  any  
            matter  pending  therein,  freely,  fully,  and  truthfully,  or  to  injure  such  
21
            party  or  witness  in  his  person  or  property  on  account  of  his  having  so  
22          attended  or  testified,  or  to  influence  the  verdict,  presentment,  or  
23          indictment  of  any  grand  or  petit  juror  in  any  such  court,  or  to  injure  
24          such  juror  in  his  person  or  property  on  account  of  any  verdict,  
25
            presentment,  or  indictment  lawfully  assented  to  by  him,  or  of  his  being  or  
            having  been  such  juror;  or  if  two  or  more  persons  conspire  for  the  purpose  of  
26
            impeding,  hindering,  obstructing,  or  defeating,  in  any  manner,  the  due  
27
            course  of  justice  in  any  State  or  Territory,  with  intent  to  deny  to  any  citizen  
28




                                                           25
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             the  equal  protection  of  the  laws,  or  to  injure  him  or  his  property  for  lawfully  
1
             enforcing,  or  attempting  to  enforce,  the  right  of  any  person,  or  class  of  
2            persons,  to  the  equal  protection  of  the  laws;  
3              
4
             (3)  Depriving  persons  of  rights  or  privileges  
             If  two  or  more  persons  in  any  State  or  Territory  conspire  or  go  in  disguise  on  
5
             the  highway  or  on  the  premises  of  another,  for  the  purpose  of  
6
             depriving,  either  directly  or  indirectly,  any  person  or  class  of  persons  of  the  
7            equal  protection  of  the  laws,  or  of  equal  privileges  and  immunities  under  the  
8            laws;  or  for  the  purpose  of  preventing  or  hindering  the  constituted  authorities  
9            of  any  State  or  Territory  from  giving  or  securing  to  all  persons  within  such  
             State  or  Territory  the  equal  protection  of  the  laws;  or  if  two  or  more  persons  
10
             conspire  to  prevent  by  force,  intimidation,  or  threat,  any  citizen  who  is  
11
             lawfully  entitled  to  vote,  from  giving  his  support  or  advocacy  in  a  legal  
12           manner,  toward  or  in  favor  of  the  election  of  any  lawfully  qualified  person  as  
13           an  elector  for  President  or  Vice  President,  or  as  a  Member  of  Congress  of  the  
14           United  States;  or  to  injure  any  citizen  in  person  or  property  on  account  of  such  
             support  or  advocacy;  in  any  case  of  conspiracy  set  forth  in  this  section,  if  one  
15
             or  more  persons  engaged  therein  do,  or  cause  to  be  done,  any  act  in  
16
             furtherance  of  the  object  of  such  conspiracy,  whereby  another  is  injured  in  his  
17           person  or  property,  or  deprived  of  having  and  exercising  any  right  or  
18           privilege  of  a  citizen  of  the  United  States,  the  party  so  injured  or  deprived  
19           may  have  an  action  for  the  recovery  of  damages  occasioned  by  such  injury  or  
20
             deprivation,  against  any  one  or  more  of  the  conspirators.  
       
21
     75. Civil  Rights  Act  of  1964  (Pub.L.  88-­‐‑352,  Title  II  §§  201  (a),  202,  203,  42  U.S.C.  §  2000a,  
22       2000a-­‐‑1,  2000a-­‐‑2)  
23          42  U.S.C.  §  2000a,  states:  
24            
25
            Prohibition  against  discrimination  or  segregation  in  places  of  public  
            accommodation  
26
              
27
            (a)  Equal  access  
28            



                                                              26
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             All  persons  shall  be  entitled  to  the  full  and  equal  enjoyment  of  the  goods,  
1
             services,  facilities,  privileges,  advantages,  and  accommodations  of  any  place  
2            of  public  accommodation,  as  defined  in  this  section,  without  discrimination  or  
3            segregation  on  the  ground  of  race,  color,  religion,  or  national  origin…  
4
             (d)  Support  by  State  action  
             Discrimination  or  segregation  by  an  establishment  is  supported  by  State  
5
             action  within  the  meaning  of  this  subchapter  if  such  discrimination  or  
6
             segregation  (1)  is  carried  on  under  color  of  any  law,  statute,  ordinance,  or  
7            regulation;  or  (2)  is  carried  on  under  color  of  any  custom  or  usage  required  or  
8            enforced  by  officials  of  the  State  or  political  subdivision  thereof;  or  (3)  is  
9            required  by  action  of  the  State  or  political  subdivision  thereof.  
               
10
                    42  U.S.C.  §  2000a-­‐‑1,  states:  
11
             Prohibition  against  discrimination  or  segregation  required  by  any  law,  
12           statute,  ordinance,  regulation,  rule  or  order  of  a  state  or  state  agency  
13             
14           All  persons  shall  be  entitled  to  be  free,  at  any  establishment  or  place,  from  
             discrimination  or  segregation  of  any  kind  on  the  ground  of  race,  color,  
15
             religion,  or  national  origin,  if  such  discrimination  or  segregation  is  or  
16
             purports  to  be  required  by  any  law,  statute,  ordinance,  regulation,  rule,  or  
17           order  of  a  State  or  any  agency  or  political  subdivision  thereof.  
18     
19           42  U.S.C.  §  2000a-­‐‑2  states  
20
               
             Prohibition  against  deprivation  of,  interference  with,  and  punishment  for  
21
             exercising  rights  and  privileges  secured  by  section  2000a  or  2000a-­‐‑1  of  this  
22           title  
23             
24           No  person  shall  (a)  withhold,  deny,  or  attempt  to  withhold  or  deny,  or  
25
             deprive  or  attempt  to  deprive  any  person  of  any  right  or  privilege  secured  by  
             section  2000a  or  2000a-­‐‑1  of  this  title,  or  (b)  intimidate,  threaten,  or  coerce,  or  
26
             attempt  to  intimidate,  threaten,  or  coerce  any  person  with  the  purpose  of  
27
             interfering  with  any  right  or  privilege  secured  by  section  2000a  or  2000a-­‐‑1  of  
28           this  title,  or  (c)  punish  or  attempt  to  punish  any  person  for  exercising  or  



                                                              27
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             attempting  to  exercise  any  right  or  privilege  secured  by  section  2000a  or  
1
             2000a-­‐‑1  of  this  title.  
2              
3    76. Civil  Rights  Act  of  1964  (Pub.L.  88-­‐‑352,  Title  VI  §  601,  42  U.S.C.  §  2000d)  
4
               
                     Section  601  provides  that  “No  person  in  the  United  States  shall,  on  the  
5
             ground  of  race,  color,  or  national  origin,  be  excluded  from  participation  in,  be  
6
             denied  the  benefits  of,  or  be  subjected  to  discrimination  under  any  program  
7            or  activity  receiving  Federal  financial  assistance.”  
8              
9    77. Violation  of  Americans  with  Disabilities  Act  of  1990  (ADA),  ADA  Amendments  Act  
         of  2008,  (Title  42,  Chapter  126,  USC  §  12101  et.  seq.)  504  of  the  Rehabilitation  Act  (29  
10
         U.S.C.  §  701  et  seq.)    and  HIPPA.  As  Method  to  Intimidate  and  Harass  Persons  
11
         Involved  In  the  Voting  Rights  Case  and  To  Target  Harm  to  Racial  Minorities  
12       Associated  with  the  Voting  Rights  Case  
13             
14           By  refusing  to  comply  with  federal  disability  law  differently  than  non-­‐‑white  
             persons.    Attempting  to  intimidate  defendant  and  others  by  as  a  form  of  
15
             intimidation.      
16
               
17   78. 42  U.S.C.  §  1983  (18    U.S.C.  §  241  (Conspiracy  against  rights))  
18             
19           If  two  or  more  persons  conspire  to  injure,  oppress,  threaten,  or  intimidate  any  
20
             person  in  any  State,  Territory,  Commonwealth,  Possession,  or  District  in  the  
             free  exercise  or  enjoyment  of  any  right  or  privilege  secured  to  him  by  the  
21
             Constitution  or  laws  of  the  United  States,  or  because  of  his  having  so  
22           exercised  the  same;  or  …They  shall  be  fined  under  this  title  or  imprisoned  not  
23           more  than  ten  years,  or  both….  
24             
25
     79. 42  U.S.C.  §  1983  (18  U.S.C.  §  242  (Deprivation  of  Rights  Under  Color  of  Law))  
               
26
             Whoever,  under  color  of  any  law,  statute,  ordinance,  regulation,  or  custom,  
27
             willfully  subjects  any  person  in  any  State,  Territory,  Commonwealth,  
28           Possession,  or  District  to  the  deprivation  of  any  rights,  privileges,  or  
             immunities  secured  or  protected  by  the  Constitution  or  laws  of  the  United  


                                                           28
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             States,  or  to  different  punishments,  pains,  or  penalties,  on  account  of  such  
1
             person  being  an  alien,  or  by  reason  of  his  color,  or  race,  than  are  prescribed  
2            for  the  punishment  of  citizens,  shall  be  fined  under  this  title  or  imprisoned  
3            not  more  than  one  year,  or  both…..  
4
               
     80. 42  U.S.C.  §  1983  (18  U.S.C.  245  Federally  Protected  Rights)  
5
             (a)  
6
                     (1)….    
7                    (2)….  
8                
9            (b)  Whoever,  whether  or  not  acting  under  color  of  law,  by  force  or  threat  of  
             force  willfully  injures,  intimidates  or  interferes  with,  or  attempts  to  injure,  
10
             intimidate  or  interfere  with—  
11
               
12                   (1)  any  person  because  he  is  or  has  been,  or  in  order  to  intimidate  such  
13           person  or  any  other  person  or  any  class  of  persons  from—  
14             
                              (B)  participating  in  or  enjoying  any  benefit,  service,  privilege,  
15
             program,  facility,  or  activity  provided  or  administered  by  the  United  States;…    
16
               
17                            (C)  participating  in  or  enjoying  the  benefits  of  any  program  or  
18           activity  receiving  Federal  financial  assistance;  or    
19             
20
                     (2)  any  person  because  of  his  race,  color,  religion  or  national  origin  and  
             because  he  is  or  has  been—  
21
             ….  
22                            (B)  participating  in  or  enjoying  any  benefit,  service,  privilege,  
23           program,  facility  or  activity  provided  or  administered  by  any  State  or  
24           subdivision  thereof;  ….  
25
               
                     (4)  any  person  because  he  is  or  has  been,  or  in  order  to  intimidate  such  
26
             person  or  any  other  person  or  any  class  of  persons  from—  
27
               
28                            (A)  participating,  without  discrimination  on  account  of  race,  
             color,  religion  or  national  origin,  in  any  of  the  benefits  or  activities  described  


                                                           29
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              in  subparagraphs  (1)(A)  through  (1)€  or  subparagraphs  (2)(A)  through  (2)(F);  
1
              or    
2               
3                                (B)  affording  another  person  or  class  of  persons  opportunity  or  
4
              protection  to  so  participate;  or    
                
5
                          (5)  any  citizen  because  he  is  or  has  been,  or  in  order  to  intimidate  such  
6
              citizen  or  any  other  citizen  from  lawfully  aiding  or  encouraging  other  persons  
7             to  participate,  without  discrimination  on  account  of  race,  color,  religion  or  
8             national  origin,  in  any  of  the  benefits  or  activities  described  in  subparagraphs  
9             (1)(A)  through  (1)€  or  subparagraphs  (2)(A)  through  (2)(F),  or  participating  
              lawfully  in  speech  or  peaceful  assembly  opposing  any  denial  of  the  
10
              opportunity  to  so  participate—  
11
              shall  be  fined  under  this  title,  or  imprisoned  not  more  than  one  year,  or  
12            both….  
13              
14            The  conduct  as  described  herein  is  intended  to  intimidate  defendants  from  
              attempting  to  participate  in  court  proceedings  without  discrimination.  
15
                                                                          
16
                     B.        Defendants  Are  Denied  Or  Cannot  Enforce  In  The  State  Court  Rights  
17   Under  Federal  Law  That  Protect  Equal  Civil  Rights,  And  The  Application  Of  A  Facially  
18                                    Neutral  State  Law,  Conflicts  With  Federal  Law  
19              
     81.     All  preceding  paragraphs  and  subsequent  paragraphs  are  incorporated  by  reference.
20

21             
22   82. Although  the  proceedings  were  advanced,  in  part,  through  a  facially  neutral  state  
23
        statute,  they  produce  or  perpetuate  a  racially  discriminatory  result.    See    White  v.  
24

25
        Wellington  supra.  (Removal  is  proper  when  state  law,  though  facially  neutral,  would  

26      produce  or  perpetuate  a  racially  discriminatory  result  as  applied.)  
27
     83.   All  of  Rogue  Rules  and  Procedures  posted  on  the  State  Bar  Court  Website  with  were  
28       not  approved  by  the  California  Supreme  Court  or  Board  of  Trustee  and  Purported  to  
         be  Modifications  of  California  Rule  of  Court  Rule  1.100.  


                                                          30
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         Non  judicial  personal  posted  and  used  unauthorized  rules  and  procedures  in  a  manner  
1
         which  would  bar  all  attorneys  with  disabilities  from  obtaining  court  rule  of  denial  of  
2        disability  accommodation  –  UNLIKE  ANY  OTHER  PERSON  WITH  DISABILITY  IN  
3        THE  STATE.  
4
           
     84. Cal.  Business  And  Professions  Code  §  6031  
5
              
6
            (See  Above)  
7             
8    85. California  Code  of  Civil  Procedure,  Title  3A  Vexatious  Litigants  Section  391-­‐‑391.7  
9        (As  Existed  at  Time  entry).  
              
10
                      391.    As  used  in  this  title,  the  following  terms  have  the  following  meanings:  
11                          (a)  “Litigation”  means  any  civil  action  or  proceeding,  commenced,  maintained  or  
12
            pending  in  any  state  or  federal  court.  
                            (b)  “Vexatious  litigant”  means  a  person  who  does  any  of  the  following:  
13                          (1)  In  the  immediately  preceding  seven-­‐‑year  period  has  commenced,  prosecuted,  
14          or  maintained  in  propria  persona  at  least  five  litigations  other  than  in  a  small  claims  court  
            that  have  been  (i)  finally  determined  adversely  to  the  person  or  (ii)  unjustifiably  permitted  
15
            to  remain  pending  at  least  two  years  without  having  been  brought  to  trial  or  hearing.  
16                          (2)  After  a  litigation  has  been  finally  determined  against  the  person,  repeatedly  
            relitigates  or  attempts  to  relitigate,  in  propria  persona,  either  (i)  the  validity  of  the  
17
            determination  against  the  same  defendant  or  defendants  as  to  whom  the  litigation  was  
18          finally  determined  or  (ii)  the  cause  of  action,  claim,  controversy,  or  any  of  the  issues  of  fact  
19          or  law,  determined  or  concluded  by  the  final  determination  against  the  same  defendant  or  
            defendants  as  to  whom  the  litigation  was  finally  determined.  
20
                            (3)  In  any  litigation  while  acting  in  propria  persona,  repeatedly  files  unmeritorious  
21          motions,  pleadings,  or  other  papers,  conducts  unnecessary  discovery,  or  engages  in  other  
            tactics  that  are  frivolous  or  solely  intended  to  cause  unnecessary  delay.  
22
                            (4)  Has  previously  been  declared  to  be  a  vexatious  litigant  by  any  state  or  federal  
23          court  of  record  in  any  action  or  proceeding  based  upon  the  same  or  substantially  similar  
24          facts,  transaction,  or  occurrence.  
                            (c)  “Security”  means  an  undertaking  to  assure  payment,  to  the  party  for  whose  
25
            benefit  the  undertaking  is  required  to  be  furnished,  of  the  party’s  reasonable  expenses,  
26          including  attorney’s  fees  and  not  limited  to  taxable  costs,  incurred  in  or  in  connection  with  a  
            litigation  instituted,  caused  to  be  instituted,  or  maintained  or  caused  to  be  maintained  by  a  
27
            vexatious  litigant.  
28




                                                                    31
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                        (d)  “Plaintiff”  means  the  person  who  commences,  institutes  or  maintains  a  
1       litigation  or  causes  it  to  be  commenced,  instituted  or  maintained,  including  an  attorney  at  
        law  acting  in  propria  persona.  
2
                        (f)  “Defendant”  means  a  person  (including  corporation,  association,  partnership  
3       and  firm  or  governmental  entity)  against  whom  a  litigation  is  brought  or  maintained  or  
4       sought  to  be  brought  or  maintained.  
                    
5
                  391.1.    In  any  litigation  pending  in  any  court  of  this  state,  at  any  time  until  final  
6       judgment  is  entered,  a  defendant  may  move  the  court,  upon  notice  and  hearing,  for  an  order  
        requiring  the  plaintiff  to  furnish  security.  The  motion  must  be  based  upon  the  ground,  and  
7
        supported  by  a  showing,  that  the  plaintiff  is  a  vexatious  litigant  and  that  there  is  not  a  
8       reasonable  probability  that  he  will  prevail  in  the  litigation  against  the  moving  defendant.  
9                   
                  391.2.    At  the  hearing  upon  such  motion  the  court  shall  consider  such  evidence,  
10      written  or  oral,  by  witnesses  or  affidavit,  as  may  be  material  to  the  ground  of  the  motion.  No  
11      determination  made  by  the  court  in  determining  or  ruling  upon  the  motion  shall  be  or  be  
        deemed  to  be  a  determination  of  any  issue  in  the  litigation  or  of  the  merits  thereof.  
12
                    
13                391.3.    If,  after  hearing  the  evidence  upon  the  motion,  the  court  determines  that  the  
14
        plaintiff  is  a  vexatious  litigant  and  that  there  is  no  reasonable  probability  that  the  plaintiff  
        will  prevail  in  the  litigation  against  the  moving  defendant,  the  court  shall  order  the  plaintiff  
15      to  furnish,  for  the  benefit  of  the  moving  defendant,  security  in  such  amount  and  within  such  
16      time  as  the  court  shall  fix.  
                    
17
                  391.4.    When  security  that  has  been  ordered  furnished  is  not  furnished  as  ordered,  
18      the  litigation  shall  be  dismissed  as  to  the  defendant  for  whose  benefit  it  was  ordered  
        furnished.  
19
                    
20                391.6.    When  a  motion  pursuant  to  Section  391.1  is  filed  prior  to  trial  the  litigation  is  
21      stayed,  and  the  moving  defendant  need  not  plead,  until  10  days  after  the  motion  shall  have  
        been  denied,  or  if  granted,  until  10  days  after  the  required  security  has  been  furnished  and  
22
        the  moving  defendant  given  written  notice  thereof.  When  a  motion  pursuant  to  Section  
23      391.1  is  made  at  any  time  thereafter,  the  litigation  shall  be  stayed  for  such  period  after  the  
        denial  of  the  motion  or  the  furnishing  of  the  required  security  as  the  court  shall  determine.  
24
                    
25                391.7.    (a)  In  addition  to  any  other  relief  provided  in  this  title,  the  court  may,  on  its  
26      own  motion  or  the  motion  of  any  party,  enter  a  prefiling  order  which  prohibits  a  vexatious  
        litigant  from  filing  any  new  litigation  in  the  courts  of  this  state  in  propria  persona  without  
27
        first  obtaining  leave  of  the  presiding  judge  of  the  court  where  the  litigation  is  proposed  to  be  
28      filed.  Disobedience  of  the  order  by  a  vexatious  litigant  may  be  punished  as  a  contempt  of  
        court.  
                    


                                                                 32
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                       (b)  The  presiding  judge  shall  permit  the  filing  of  that  litigation  only  if  it  appears  that  
1            the  litigation  has  merit  and  has  not  been  filed  for  the  purposes  of  harassment  or  delay.  The  
             presiding  judge  may  condition  the  filing  of  the  litigation  upon  the  furnishing  of  security  for  
2
             the  benefit  of  the  defendants  as  provided  in  Section  391.3.  
3                        
4                      (c)  The  clerk  may  not  file  any  litigation  presented  by  a  vexatious  litigant  subject  to  a  
             prefiling  order  unless  the  vexatious  litigant  first  obtains  an  order  from  the  presiding  judge  
5
             permitting  the  filing.  If  the  clerk  mistakenly  files  the  litigation  without  the  order,  any  party  
6            may  file  with  the  clerk  and  serve  on  the  plaintiff  and  other  parties  a  notice  stating  that  the  
             plaintiff  is  a  vexatious  litigant  subject  to  a  prefiling  order  as  set  forth  in  subdivision  (a).  The  
7
             filing  of  the  notice  shall  automatically  stay  the  litigation.  The  litigation  shall  be  
8            automatically  dismissed  unless  the  plaintiff  within  10  days  of  the  filing  of  that  notice  obtains  
9            an  order  from  the  presiding  judge  permitting  the  filing  of  the  litigation  as  set  forth  in  
             subdivision  (b).  If  the  presiding  judge  issues  an  order  permitting  the  filing,  the  stay  of  the  
10           litigation  shall  remain  in  effect,  and  the  defendants  need  not  plead,  until  10  days  after  the  
11           defendants  are  served  with  a  copy  of  the  order.  
                         
12
                       (d)  For  purposes  of  this  section,  “litigation”  includes  any  petition,  application,  or  
13           motion  other  than  a  discovery  motion,  in  a  proceeding  under  the  Family  Code  or  Probate  
14
             Code,  for  any  order.  
                         
15                     (f)  The  clerk  of  the  court  shall  provide  the  Judicial  Council  a  copy  of  any  prefiling  
16           orders  issued  pursuant  to  subdivision  (a).  The  Judicial  Council  shall  maintain  a  record  of  
             vexatious  litigants  subject  to  those  prefiling  orders  and  shall  annually  disseminate  a  list  of  
17
             those  persons  to  the  clerks  of  the  courts  of  this  state.  
18                       
       
19
     86. Section  5  SBX2  11  versus  the  Supremacy  Clause,  California  Const  Article  VI  §  17,  
20
         California  Constitution  Article  VI  §  21.      
21
              
22   87. Section  5  of  Senate  Bill  x211  (“SBX2  11”)  requires  and  involuntary  waiver  of  federal  
23       rights  and  states:  
24
              
            SEC.  5.    Notwithstanding  any  other  law,  no  governmental  entity,  or  officer  or  
25
     employee  of  a  governmental  entity,  shall  incur  any  liability  or  be  subject  to  prosecution  or  
26
     disciplinary  action  because  of  benefits  provided  to  a  judge  under  the  official  action  of  a  
27   governmental  entity  prior  to  the  effective  date  of  this  act  on  the  ground  that  those  benefits  
28   were  not  authorized  under  law.  
              


                                                                      33
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     88. Section  17  of  the  California  Constitution  states:  
1
              
2           A  judge  of  a  court  of  record  may  not  practice  law  and  during  the  term  for  
3           which  the  judge  was  selected  is  ineligible  for  public  employment  or  public  
4
            office  other  than  judicial  employment  or  judicial  office,  except  a  judge  of  a  
            court  of  record  may  accept  a  part-­‐‑time  teaching  position  that  is  outside  the  
5
            normal  hours  of  his  or  her  judicial  position  and  that  does  not  interfere  with  
6
            the  regular  performance  of  his  or  her  judicial  duties  while  holding  office.    A  
7           judge  of  a  trial  court  of  record  may,  however,  become  eligible  for  election  to  
8           other  public  office  by  taking  a  leave  of  absence  without  pay  prior  to  filing  a  
9           declaration  of  candidacy.    Acceptance  of  the  public  office  is  a  resignation  from  
            the  office  of  judge.  
10
                
11
                A  judicial  officer  may  not  receive  fines  or  fees  for  personal  use.  
12            
13                A  judicial  officer  may  not  earn  retirement  service  credit  from  a  public  
14          teaching  position  while  holding  judicial  office.  
              
15
     89. Section  21  of  the  California  Constitution  states:  
16
              
17          On  stipulation  of  the  parties  litigant  the  court  may  order  
18          a  cause  to  be  tried  by  a  temporary  judge  who  is  a  member  of  the  State  Bar,  
19          sworn  and  empowered  to  act  until  final  determination  of  the  cause.  
20
              
     90. The  persons  conducting  the  proceedings  in  the  state  court  never  disclosed  the  fact  that  
21

22
        they  were  engaged  in  public  employment  and  office  in  violation  of  California  
23      Constitution  Article  VI  §  17.    The  clients  of  defendants  and  defendants  do  not  consent  
24
        to  participate  in  the  proceedings  in  the  state  court  without  proper  disclosure  and  
25
        written  consent  as  mandated  by  the  California  constitution.    Rooney  v.  Vermont  
26

27      Investment  Corporation,  10  Cal.3d  351  (Cal.  1973).    Clients  and  defendants  claim  that  
28      the  unconstitutional  condition  was  created  to  further  a  discriminatory  condition  and  

        the  outcome  as  a  discriminatory  and  disparate  impact  on  racial  and  language  

                                                         34
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        minorities  who  need  to  use  the  court  services.    Defendants  claim  that  section  5  of  SBX2  
1
        11  is  complete  contradiction  to  the  Civil  Rights  Act  of  1866  and  the  federal  civil  rights  
2

3       identified  above.  
4    91. California  Rule  of  Court,  Rule  9.16  
5            Rule  9.16.  Grounds  for  review  of  State  Bar  Court  decisions  in  the  Supreme  
6            Court  
        (a)  Grounds  
7
        The  Supreme  Court  will  order  review  of  a  decision  of  the  State  Bar  Court  
8
             recommending  disbarment  or  suspension  from  practice  when  it  appears:  
9       (1)Necessary  to  settle  important  questions  of  law;  
10      (2)The  State  Bar  Court  has  acted  without  or  in  excess  of  jurisdiction;  
11      (3)Petitioner  did  not  receive  a  fair  hearing;  
12
        (4)The  decision  is  not  supported  by  the  weight  of  the  evidence;  or  
        (5)The  recommended  discipline  is  not  appropriate  in  light  of  the  record  as  a  
13
             whole.  
14
        (b)  Denial  of  review  
15       92. Denial  of  review  of  a  decision  of  the  State  Bar  Court  is  a  final  judicial  
16           determination  on  the  merits  and  the  recommendation  of  the  State  Bar  Court  
17
             will  be  filed  as  an  order  of  the  Supreme  Court.  
           
18
     93. March  21,  2012  Resolution  Re  Suspension  Of  Local  Rules,  May  1,  2020  General  Order  
19
         Re  Suspension  Of  Local  Rule,  February  20,  2013  Resolution  Re  Temporary  
20       Suspension  Of  Local  Rules,  September  25,  2013  General  Order  Prohibiting  Use  Of  
21       Cameras  (Recording  Devices),  Notice  To  Attorneys  Thereof,  And  Related  Rules  Or  
22
         Orders  Concerning  Availability  Of  Official  Court  Reporters  
               
23
     94. Defendants  are  involuntarily  forced  to  waive  federal  rights  to  racial  equality  in  
24
         proceedings  in  which  there  is  a  lack  of  access  to  official  court  reporters  and  the  
25       participants  are  prevented  from  recording  the  proceedings  by  other  means.  
26         
27                   INDEPENDENT  PETITION  FOR  WRIT  OF  HABEAS  CORPUS  
           
28
     95. Defendants  properly  seek  a  writ  of  habeas  corpus.    Imprisonment  is  not  required.    Here  



                                                           35
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        defendants  and  their  clients  claim  they  are  being  unlawfully  detained  in  the  
1
        proceedings  proceeding  without  jurisdiction.    There  is  no  procedure  in  place  to  allow  
2

3       consent  or  dismissal  without  prejudice  (with  tolling  of  the  statute  of  limitations).    
4       Instead,  there  exist  a  proceeding  where  there  is  an  involuntary  forfeiture  of  
5
        fundamental  rights.  
6
          
7
                 INDEPENDENT  PETITION  FOR  WRIT  OF  QUO  WARRANTO  
8
     96. Defendants  properly  seek  a  writ  of  quo  warranto  because  there  is  no  authority  which  
9
        allowed  plaintiffs  to  proceed  with  regulatory  and  investigating  function  when  the  
10

11      alleged  enforcement  division  has  no  ability  to  consider  the  defenses  of  the  defendants  
12      and  is  statutorily  is  barred  from  evaluation  or  review  of  the  defense.    The  Civil  Rights  
13
        Act  1866  prohibits  such  enforcement  and  as  applied  it  impairs  the  rights  under  the  Act,  
14
        the  First,  and  Fourteenth  Amendment  of  defendants  and  their  clients.    Defendants  have  
15

16      no  enforcement  authority  over  void  proceedings  or  proceedings  in  violation  of  Double  
17      Jeopardy  of  the  Fifth  Amendment  
18
                                  INDEPENDENT  PETITION  TO  REOPEN  
19
     97. The  one  year  limitation  to  seek  relief  under  Rule  60  is  not  applicable.    This  limitation  
20

21      period  does  not  apply  to  petitions  under  Rule  60  (b)(3),  (4),  (6)  or  Rule  60  (d).    A  court  
22      may  grant  relief  under  Rule  60  (b)(6)  when  there  are  extraordinary  circumstances  or  
23
        extreme  undue  hardship.    It  is  to  be  liberally  construed  to  accomplish  justice  or  when  
24

25
        substantial  justice  will  be  served.    See  Molloy  v.  Wilson,  878  F.2d  313,  316  (9th  Cir.  1989),  

26      Le  Blanc  v.  Cleveland,  248  F.3d  95,  100  (2nd  Cir.  2001).    Additionally,  defendants  
27
        reasonably  allege  that  there  was  extrinsic  fraud  or  the  proceedings  that  were  created  in  
28




                                                             36
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          violation  of  removal  jurisdiction  from  the  petition  filed  on  March  23,  2015  are  void  and  
1
          violate  the  Supremacy  Clause  of  the  United  States  Constitution.  
2

3                           APPLICATION  FOR  RELIEF  UNDER  THE  ALL  WRITS  ACT  
4
              
     98. Because  subject  matter  jurisdiction  is  not  lacking,  and  there  are  matters  before  the  court  
5

6         within  the  court’s  original  jurisdiction  under  28  U.S.C.  §  1651  this  court  may  issue  all  
7         writs  necessary  or  appropriate  and  in  aid  of  its  jurisdiction.    See  Yonkers  supra.  
8
                Dated:    April  29,  2021  
9
                  
10

11                               Respectfully  Submitted,  
12
                                                           
13
                                 By:    s/  Nina  R.  Ringgold     
14     
15                                                      ATTACHMENT  
16                                                             
17
          Exhibit           Date        Item  
          No.  
18
          1                 7/13/15    Provisional  Response  Of  Respondents  Under  Protest  Based  
19
                                       On  Lack  Of    Fundamental  Jurisdiction;  Lack  Of  Completion  
20                                     Of  Timely  Requested  ENEC;  Irreconcilable  Conflict  Between  
21                                     Cal.  B  &  P  Code  Sec.  6031  (b)  And  Cal  B  &  P  Code  Sec.  6001.1;  
22
                                       And  On  Other  Grounds  
                                         
23
          2                 2/2/16     Express  Reservation  of  Rights  in  these  non-­‐‑judicial  
24
                                       proceedings  and  any  other  related  of  further  proceedings  of  
25                                     any  nature  
26        3                 9/9/20     Order  entering  default  while  defendant  seeking  
27                                     accommodation  for  disability  during  medical  emergency  (and  
28
                                       national  pandemic)  
          4                 10/14/20   Petition  for  Disbarment  after  default  
          5                 1/5/21     Response  To  Petition  For  Disbarment  After  Default;  

                                                                      37
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                                And  To  Vacate  Default  On  Grounds,  Including  But  Not  
1
                                Limited  To,  Lack  Of  Jurisdiction;  And  Request  For  
2                               Stay  
3         6         4/12/21      Decision  And  Order  Of  Inactive  Enrollment  
4                                    
                                  




       
5
                                                        
6
       
7      
8
       

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                                                     38
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EXHIBIT 1
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2
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3    Telephone: (818) 773-2409, Facsimile: (866) 340-4312
4    Attorney for Nina Ringgold, Esq. and Law Offices of Nina Ringgold

5
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6    LAW OFFICES OF AMY P. LEE
     428 South Atlantic Blvd Suite 312
7
     Monterey Park, CA 91754
8    Telephone: (626) 768-3286, Facsimile: (626) 768-3296
9    Attorney for Amy P. Lee, Esq. and Law Offices of Amy P. Lee

10
                                          STATE BAR COURT
11

12                           HEARING DEPARTMENT- LOS ANGELES
13

14
     IN THE MATTER OF                                  Case Nos: 09-0-13090; 10-0-05197; 13-0-12272;
                                                       14-0-00523; 14-0-00524; 14-0-03667
15
     NINA R. RINGGOLD
16   Member No. 133735                                 PROVISIONAL RESPONSE OF
17                                                     RESPONDENTS UNDER PROTEST
     And                                               BASED ON LACK OF
18
                                                       FUNDAMENDAL JURISDICTION;
19   AMY P. LEE                                        LACK OF COMPLETION OF TIMELY
20   Member No. 222013                                 REQUESTED ENEC;
                                                       IRRECONCILABLE CONFLICT
21
     Constitutionally Mandated Members of the          BETWEEN CAL. B & P CODE SEC. 6031
22
     California State Bar (Cal. Const. Art. VI § 9)    (b) AND CAL B & P CODE SEC. 6001.1;
23                                                     AND ON OTHER GROUNDS
24

25

26

27

28
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1
     TO THE HEARING DEPARTMENT OF THE STATE BAR COURT, ALL PARTIES, AND
2
     ATTORNEYS OF RECORD:
3

4           Preserving all available defenses under state and federal law, respondents Nina R. Ringgold

5    (“Ringgold”) and Amy P. Lee (“Lee”) respond to the void Notice of Disciplinary Charges filed on
6    March 23, 2015 (“Charge”) by the State Bar of California (“State Bar”):
7                                                 I.
8                                        PRELIMINARY MATTERS
9    LACK OF JURISDICTION OF THIS PROCEEDING
10

11              1. On March 23, 2015 respondent Ringgold filed a Notice and Petition for Removal
12   under § 3, § § 1-10 of the Civil Rights Act of 1866, 28 U.S.C. § 1443, 28 U.S.C. § 1441 (28 U.S.C. §
13
     1331); Petition under the All Writs Act (28 U.S. C. § 1651), and for relief based on Writ of Quo
14
     Warranto, Habeas Corpus, or Other Appropriate Relief in the United States District Court for the
15
     Central District of California. Respondent Lee subsequently joined in this petition. Matters
16

17   pertaining to this petition are still pending in the District Court.

18              2. The March 23, 2015 notice of disciplinary action was filed in violation of 28 U.S.C. §
19   1446 (d) and the jurisdiction of the federal court.
20
                3. There was a partial remand order entered. However, the clerk of the United States
21
     District Court for the Central District of California did not transmit by mail to the State Bar Court a
22
     certified copy of the remand order and there is no certified copy of remand order from this clerk
23

24
     filed in this case. It is this transmittal and filing that effectuates a remand order.

25              4. The General Counsel’s office of the State Bar may not attempt to act as a substitution
26   agent for the clerk of the United States District Court for the Central District of California.
27
                5. There cannot be a remand from the United States District Court for the Central District
28
     of California to the State Bar Court because respondents never removed any proceeding from the

     State Bar Court. Respondents removed from an Early Neutral Evaluation Conference which was




                                                           1
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     not complete after discovery of significant institutional conflicting interests which impair the
1
     respondents rights, the rights of their clients, and the rights of the general public.
2

3    LACK OF COMPLIANCE WITH THE ENEC
4               6. The respondents timely filed a request for an Early Neutral Evaluation Conference
5
     (“ENEC”).
6
                7. The ENEC has not been conducted or completed.
7
                8. The State Bar was prohibited from filing the notice of disciplinary charge when
8

9    respondents had a right to an ENEC.

10
     IRRECONCILIABLE CONFLICTING INTERESTS
11
                9. There are irreconciliable conflicting interests which prohibit these proceedings from
12

13
     going forward and indicate that this cannot be a fair administrative tribunal.

14              10. California Business and Professions Code § 6031 (b) which states:
15                 Notwithstanding this section or any other provision of law, the board
16                 shall not conduct or participate in, or authorize any committee,
                   agency, employee, or commission of the State Bar to conduct or
17
                   participate in any evaluation, review, or report on the qualifications,
18
                   integrity, diligence, or judicial ability of any specific justice of a court
19                 provided for in Section 2 or 3 of Article VI of the California
20                 Constitution without prior review and statutory authorization by the
                   Legislature.
21

22              11. This provision conflicts with the amended State Bar Act effective January 1, 2012.
23
     The new provision added, California Business and Professions Code Section 6001.1, for the first
24
     time it specified when other interests were inconsistent with the public interest that the public
25
     interest was paramount.
26

27
                    Protection of the public shall be the highest priority for the State Bar
                   of California and the board of trustees in exercising their licensing,
28
                   regulatory, and disciplinary functions. Whenever the protection of the
                   public is inconsistent with other interests sought to be promoted, the
                   protection of the public shall be paramount.




                                                         2
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                   (Added by Stats. 2011, Ch. 417, Sec. 1. Effective January 1, 2012.)
1
                12. Because the defenses of respondents concern the evaluation, review, or report on
2
     the qualifications, integrity, diligence, or judicial ability of a specific justice(s) of a court provided
3

4    for in Section 2 or 3 of Article VI of the California Constitution, this court and the State Bar by law

5    require statutory authorization by the Legislature.
6               13. In a discriminatory and retaliatory manner the regulatory proceedings and the void
7
     disciplinary charge are inconsistent with California Business and Professions Code Section
8
     6001.1.
9
                14. Respondents refuse to betray the United States and California Constitution, their
10
     clients’ interests, and the public interests by concealing misconduct including “justice” or “judge”
11

12   misconduct or conduct which impairs the rights of the primary client base of the law office which

13   include racial and language minorities and the most vulnerable populations in the State of
14   California.
15

16   OBJECTION TO CONSOLIDATED CHARGE FOR TWO DIFFERENT LAW OFFICES
17
                15. Respondents are attorneys in two separate law offices and do not have the same
18

19
     clients. They never agreed to consolidation of the March 23, 2015 charge.

20              16. Respondents object to the consolidation and prejudicial and misleading and further
21   part of the discriminatory and retaliatory conduct.
22
     GENERAL DENIAL
23

24              17. Respondents deny generally and specifically, all and singular, each and every

25   allegation of the Complaint; deny that they are culpable, negligent, willful, and/or careless or
26   otherwise at fault in and about the matters alleged in said Charge; and further denies that they
27
     should be suspended, disbarred, or otherwise punished for legal actions taken on their behalf
28
     and/or on behalf of their client(s) since all such legal actions had supporting factual evidence and

     supporting legal authority, and thus had “merit” and consistent with the California Constitution,
     United States Constitution, and applicable state and federal law.



                                                         3
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     JURISDICTION
1

2              18. Answering paragraph 1, respondent Ringgold admits she was admitted to practice
3    law in California on or about June 16, 1988; was and has been a member of the State Bar from then
4    until now; and is currently and has always been a member of the State Bar.
5
               19. Answering paragraph 2, respondent Lee admits she was admitted to practice law in
6
     California on or about December 4, 2012; was and has been a member of the State Bar from then
7
     until now; and is currently and has always been a member of the State Bar.
8

9              20. Respondents deny that jurisdiction exists in this action.

10             21. Respondents deny that this department may hear and consider the defenses of
11   respondents due to the irreconcilable conflicts specified above.
12
                                         II.
13
                       MYER SANKARY V. THE AUBRY FAMILY TRUST
14

15                                            COUNT ONE
                                          (Case No. 09-O-13090)
16
                              Business and Professions Code, Section 6068 (c))
17
                                     [Maintaining an Unjust Action]
18                                    [RESPONDENT RINGGOLD]
19             22. Answering paragraph 3, respondent denies each and every allegation therein.
20
                                                COUNT TWO
21                                         (Case No. 09-O-13090)
22                              Business and Professions Code, Section 6103)
23
                                      [Failure to Obey A Court Order]
                                       [RESPONDENT RINGGOLD]
24

25
               23. Answering paragraph 4, respondent denies each and every allegation therein.
26

27
                                              COUNT THREE
28
                                           (Case No. 09-O-13090)
                                Business and Professions Code, Section 6103)
                                      [Failure to Obey A Court Order]
                                       [RESPONDENT RINGGOLD]




                                                       4
     Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 45 of 88 Page ID #:45




1
           24. Answering paragraph 5, respondent denies each and every allegation therein.
2

3
                                         COUNT FOUR
                                     (Case No. 09-O-13090)
4
                          Business and Professions Code, Section 6103)
5                               [Failure to Obey A Court Order]
6                                [RESPONDENT RINGGOLD]

7

8          25. Answering paragraph 6, respondent denies each and every allegation therein.

9                                         COUNT FIVE
10                                   (Case No. 09-O-13090)
                          Business and Professions Code, Section 6103)
11
                                [Failure to Obey A Court Order]
12                               [RESPONDENT RINGGOLD]
13

14         26. Answering paragraph 7, respondent denies each and every allegation therein.
15
                                           COUNT SIX
16                                   (Case No. 09-O-13090)
17                        Business and Professions Code, Section 6103)
                                [Failure to Obey A Court Order]
18
                                 [RESPONDENT RINGGOLD]
19

20
           27. Answering paragraph 8, respondent denies each and every allegation therein.
21
                                        COUNT SEVEN
22
                                     (Case No. 09-O-13090)
23                     Business and Professions Code, Section 6068 (0)(3))
24                           [Failure to Report Judicial Sanctions]
                                 [RESPONDENT RINGGOLD]
25

26
           28. Answering paragraph 9, respondent denies each and every allegation therein.
27

28




                                                5
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                                       COUNT EIGHT
1                                    (Case No. 09-O-13090)
2                         Business and Professions Code, Section 6104
                           [Appearing for Party Without Authority]
3
                                [RESPONDENT RINGGOLD]
4

5
           29. Answering paragraph 10, respondent denies each and every allegation therein.
6
                                        COUNT NINE
7
                                     (Case No. 09-O-13090)
8                         Business and Professions Code, Section 6106
9                                      [Moral Turpitude]
10
                                [RESPONDENT RINGGOLD]

11
           30. Answering paragraph 11, respondent denies each and every allegation therein.
12

13                                 III.
14        CANON BUSINESS SOLUTIONS ET AL. V. ASAP COPY AND PRINT
15         GENERAL ELECTRIC CAPITAL CORP V. ASAP COPY AND PRINT
16
                                         COUNT TEN
17                                    (Case No. 10-O05197)
18                       Business and Professions Code, Section 6068 (c))
19
                                 [Maintaining an Unjust Action]
20
                                  [RESPONDENT RINGGOLD]
21

22         31. Answering paragraph 12, respondent denies each and every allegation therein.
23
                                       COUNT ELEVEN
24
                                     (Case No. 10-O05197)
25                     Business and Professions Code, Section 6068 (0)(3))
26
                             [Failure to Report Judicial Sanctions]
                                 [RESPONDENT RINGGOLD]
27

28
           32. Answering paragraph 13, respondent denies each and every allegation therein.




                                                6
     Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 47 of 88 Page ID #:47



                                       COUNT TWELVE
1                                    (Case No. 10-O05197)
2                      Business and Professions Code, Section 6068 (0)(3))
                             [Failure to Report Judicial Sanctions]
3
                                 [RESPONDENT RINGGOLD]
4

5
           33. Answering paragraph 14, respondent denies each and every allegation therein.
6
                                      COUNT THIRTEEN
7
                                     (Case No. 10-O05197)
8                      Business and Professions Code, Section 6068 (0)(3))
9                            [Failure to Report Judicial Sanctions]
10
                                 [RESPONDENT RINGGOLD]

11
           34. Answering paragraph 15, respondent denies each and every allegation therein.
12

13                                    COUNT FOURTEEN
                                      (Case No. 10-O05197)
14
                          Business and Professions Code, Section 6103)
15
                                [Failure to Obey A Court Order]
16                               [RESPONDENT RINGGOLD]
17

18         35. Answering paragraph 16, respondent denies each and every allegation therein.
19

20
                                       COUNT FIFTEEN
21                                   (Case No. 13-O-12272)
22                       Business and Professions Code, Section 6068 (c))
                                [Maintaining an Unjust Action]
23
                                 [RESPONDENT RINGGOLD]
24

25
           36. Answering paragraph 17, respondent denies each and every allegation therein.
26

27

28




                                                7
     Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 48 of 88 Page ID #:48



                                       COUNT SIXTEEN
1                                    (Case No. 13-O-12272)
2                      Business and Professions Code, Section 6068 (0)(3))
                             [Failure to Report Judicial Sanctions]
3
                                 [RESPONDENT RINGGOLD]
4

5

6          37. Answering paragraph 18, respondent denies each and every allegation therein.
7
                                     COUNT SEVENTEEN
8                                    (Case No. 13-O-12272)
9                         Business and Professions Code, Section 6103)
10
                                [Failure to Obey A Court Order]
                                 [RESPONDENT RINGGOLD]
11

12
           38. Answering paragraph 19, respondent denies each and every allegation therein.
13
                                      COUNT EIGHTEEN
14
                                     (Case No. 13-O-12272)
15
                         Business and Professions Code, Section 6068 (c))
16                              [Maintaining an Unjust Action]
17
                                 [RESPONDENT RINGGOLD]

18
           39. Answering paragraph 20, respondent denies each and every allegation therein.
19

20                                    COUNT NINTEEN
21
                                     (Case No. 14-O-03667)
                          Business and Professions Code, Section 6103)
22
                                [Failure to Obey A Court Order]
23                               [RESPONDENT RINGGOLD]
24

25         40. Answering paragraph 21, respondent denies each and every allegation therein.
26

27

28




                                                8
        Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 49 of 88 Page ID #:49



                                    IV
1
     HARTFORD CAUSALTY INSURANCE ET AL V. CORNELIUS, MARIAN, AND
2
      LISA TURNER; CORNELIUS, MARIAN, AND LISA TURNER V. HARTFORD
3      CASUALTY INSURANCE ET AL.; THE RULE COMPANY V. AMY LEE AND
4                           NINA RINGGOLD
5
                                            COUNT TWENTY
6
                                   (Case No. 14-O-00523 and 14-O-00524)
7                             Business and Professions Code, Section 6068 (c))
8                                     [Maintaining an Unjust Action]
9
                                [RESPONDENTS LEE AND RINGGOLD]

10
                41. Answering paragraph 22, respondent denies each and every allegation therein.
11

12

13                                        COUNT TWENTY -ONE
14                                 (Case No. 14-O-00523 and 14-O-00524)
                                Business and Professions Code, Section 6103)
15
                                      [Failure to Obey A Court Order]
16                               [RESPONDENTS LEE AND RINGGOLD]
17

18              42. Answering paragraph 23, respondent denies each and every allegation therein.
19
                                         COUNT TWENTY-TWO
20                                         (Case No. 14-O-00524)
21                           Business and Professions Code, Section 6068 (0)(3))
                                   [Failure to Report Judicial Sanctions]
22
                                           [RESPONDENT LEE]
23

24
                43. Answering paragraph 24, respondent denies each and every allegation therein.
25

26         WHEREFORE, Respondents pray:
27         1.      That the Charges be dismissed in their entirety;
28
           2.      That findings of fact be made in writing by the State Bar Court showing that no

     violation has occurred by this respondents;




                                                       9
        Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 50 of 88 Page ID #:50




1
           3.     That the State Bar be required to pay all reasonable expenses of respondents including

2    but not limited under California Business and Professions Code § 6086.10 (d) and Rule 5.131 (A).
3          4.     For such other and further relief, including equitable relief, as this Court may deem
4    proper.
5          Dated: July 13, 2015
6                                             LAW OFFICE OF NINA R. RINGGOLD
7

8

9                                             By: /s/ Nina R. Ringgold, Esq.
                                                     Nina R. Ringgold, Esq.
10
                                                  Attorney for the Respondent
11

12                                            LAW OFFICE OF AMY P. LEE
13

14
                                              By: /s/ Amy P. Lee , Esq.______
15
                                                     Amy P. Lee, Esq.
16                                                Attorney for the Respondent
17

18

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        Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 51 of 88 Page ID #:51



                                           PROOF OF SERVICE
1

2
           I hereby certify that on the date specified below I caused to be served the following:

3
     PROVISIONAL RESPONSE OF RESPONDENTS UNDER PROTEST BASED ON LACK OF
4    FUNDAMENDAL JURISDICTION; LACK OF COMPLETION OF TIMELY REQUESTED
5    ENEC; IRRECONCILABLE CONFLICT BETWEEN CAL. B & P CODE SEC. 6031 (b) AND
     CAL B & P CODE SEC. 6001.1; AND ON OTHER GROUNDS
6

7          The document was served by hand delivery to the person specified below at the address
8
     indicated below:
9

10
     State Bar Of California
11   Office Of The Chief Trial Counsel
12   Ashod Mooradian, Esq.
     845 South Figueroa Street
13
     Los Angeles, California 90017-2515
14

15         I declare under penalty of perjury under the laws of the State of California the foregoing is
16   true and correct and this declaration was executed on July 13, 2015 at Los Angeles, California.
17

18
                                              ___________________________________
19

20

21

22

23

24

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                                                     11
Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 52 of 88 Page ID #:52




EXHIBIT 2
        Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 53 of 88 Page ID #:53



     NINA R. RINGGOLD, ESQ. (SBN 133735)
1    LAW OFFICE OF NINA RINGGOLD
     9420 Reseda Blvd. #361
2
     Northridge, CA 91324
3    Telephone: (818) 773-2409, Facsimile: (866) 340-4312
4    Attorney for Nina Ringgold, Esq. and Law Offices of Nina Ringgold

5
     AMY P. LEE, ESQ. (SBN 222013)
6    LAW OFFICES OF AMY P. LEE
     428 South Atlantic Blvd Suite 312
7
     Monterey Park, CA 91754
8    Telephone: (626) 768-3286, Facsimile: (626) 768-3296
9    Attorney for Amy P. Lee, Esq. and Law Offices of Amy P. Lee

10
                                          STATE BAR COURT
11

12                           HEARING DEPARTMENT- LOS ANGELES
13

14
     IN THE MATTER OF                                  Case Nos: 09-0-13090; 10-0-05197; 13-0-12272;
                                                       14-0-00523; 14-0-00524; 14-0-03667
15
     NINA R. RINGGOLD
16   Member No. 133735                                 EXPRESS RESERVATION OF RIGHTS
17                                                     IN THESE NON-JUDICIAL
     And                                               PROCEEDINGS AND ANY OTHER
18
                                                       RELATED OR FURTHER
19   AMY P. LEE                                        PROCEEDINGS OF ANY NATURE
20   Member No. 222013
21
     Constitutionally Mandated Members of the
22
     California State Bar (Cal. Const. Art. VI § 9)
23

24

25

26

27

28
        Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 54 of 88 Page ID #:54



            NOTICE IS HEREBY GIVEN Respondents Nina R. Ringgold, Esq. and the Law Offices of
1
     Nina Ringgold and Amy P. Lee, Esq. and the Law Office of Amy P. Lee hereby file this express
2
     declaration of their reservation of rights.
3

4           Respondents do not abandon or forego a federal forum and reserve all claims under
5    federal law, the United States Constitution, and other authority. Respondents address their
6    federal claims only for purpose of complying with Government Employees v. Windsor (1957) 353
7
     U.S. 364. Respondents elect and reserve the right to return to the federal court for disposition of
8
     federal contentions.   See England v. Louisiana State Board of Medical Examiners (1964) 375 U.S.
9
     411, 415-422 & fn 18; American Trial Lawyers v. New Jersey Supreme Court (1973) 409 U.S. 467, 468-
10

11   469.

12

13   Dated: February 2, 2016
14                                                 LAW OFFICE OF NINA R. RINGGOLD
15

16

17
                                                   By: /s/ Nina R. Ringgold, Esq.
                                                          Nina R. Ringgold, Esq.
18
                                                       Attorney for the Respondent
19

20                                                 LAW OFFICE OF AMY P. LEE
21

22
                                                   By: /s/ Amy P. Lee , Esq.______
23
                                                          Amy P. Lee, Esq.
24                                                     Attorney for the Respondent
25

26

27

28




                                                          1
        Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 55 of 88 Page ID #:55



                                          PROOF OF SERVICE
1

2
           I hereby certify that on the date specified below I caused to be served the following:

3
     EXPRESS RESERVATION OF RIGHTS IN THESE NON-JUDICIAL PROCEEDINGS AND
4    ANY OTHER RELATED OR FURTHER PROCEEDINGS OF ANY NATURE
5

6          The document was served by deposit in the United States mail to the person specified
7    below at the address indicated below:
8

9    State Bar Of California
10   Office Of The Chief Trial Counsel
     Augustin Hernandez
11
     845 South Figueroa Street
12   Los Angeles, California 90017-2515
13

14
           I declare under penalty of perjury under the laws of the State of California the foregoing is
15
     true and correct and this declaration was executed on February 2, 2016 at Los Angeles, California.
16

17

18                                           /s/ Nina R. Ringgold
19

20

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22

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                                                     2
Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 56 of 88 Page ID #:56




EXHIBIT 3
               Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 57 of 88 Page ID #:57

STATE BAR COURT 0F CALIFORNIA                                              FOR CLERK'S USE ONLY:



                                                                                                     FILEQA.
HEARING DEPARTMENT                                                                                   SEP 09   2020

                                                                                                   STATE BAR COURT
                                                                                                    CEEISIK'S OFFICE
s45 s. Figueroa Street, Los Angeles,                  CA   90017
                                                                                                         ANGEL“
In the Matter of:                                                          Case No(s). 09-0-13090 et.         a1.


 NINA RAE RINGGOLD,
                                                                           ORDER ENTERING DEFAULT AND ORDER
State Bar No. 133735.                                                      ENROLLING INACTIVE (RULE 5.81 —
                                                                           FAILURE TO APPEAR)


ORDER ENTERING DEFAULT:
          As respondent NINA RAE RINGGOLD (Respondent) failed                                to appear as a party at trial and the

requirements       of rule 5.81(A) of the Rules of Procedure of the State Bar                are satised,     Respondent’s default is
entered in this proceeding, e‘ective                   upon the ling   of this order. All previously scheduled court dates are
vacated. The court takes judicial notice of Respondent’s oicial                   State Bar record address.

          Respondent is notied                that:

          Because you failed to appear at trial, the court has entered your default and deemed the
          facts alleged in the notice of disciplinary charges admitted. Except as ordered by the court,
          you may participate in these proceedings only if the court sets aside your default. If you
          fail to timely move to set aside your default, this court will enter an order recommending
          your disbarment without further hearing or proceeding. (See Rules Proc. of State Bar, rule
          5.80 et seq.)

ORDER ENROLLING INACTIVE:
          As the conditions of Business and Professions Code section 6007, subdivision (e)(1),                               are met,

Respondent is enrolled as an inactive attorney of the State Bar of California under Business and Professions

Code section 6007, subdivision (e). The inactive enrollment is effective three (3) days aer                            service of this
order. (Rules Proc.         of State Bar, rule 5.250.)
          IT IS SO ORDERED.

                                                                                  Yvette D. Roland
Dated: September 9, 2020                                                 YVETI'E D. ROLAND
                                                                         Judge of the State Bar Court




def_5.81_inact_enrl_fail_appear (201905 l3)
    Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 58 of 88 Page ID #:58


                                CERTIFICATE OF SERVICE

              [Rules Proc. of State Bar; Rule 5.27(B); Code Civ. Proc., § 1013a(4)]

I am a Court Specialist of the State Bar Court of California. I am over the age of eighteen and
not a party to the within proceeding. Pursuant to standard court practice, in the City and County
of Los Angeles, on September 9, 2020, I deposited a true copy of the following document(s):

              ORDER ENTERING DEFAULT AND ORDER ENROLLING INACTIVE
                          (RULE 5.81 - FAILURE TO APPEAR)

in a sealed envelope for collection and mailing on that date as follows:

X      by certied mail, No. 94147266990421 1 1007232, with return receipt requested, through
       the United States Postal Service at Los Angeles, California, addressed as follows:

        NINA R. RINGGOLD
        17901 MALDEN ST
        NORTHRIDGE, CA 91325-3817

X      by interofce  mail through a facility regularly maintained by the State Bar of California
       addressed as follows:

               Patrice N. Vallier-Glass, Office of Chief Trial Counsel, Los Angeles

I hereby certify that the foregoing is true and correct. Executed in Los Angeles, California, on
September 9, 2020.



                                                             Alvarez
                                                   Court pecialist
                                                   State Bar Court
Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 59 of 88 Page ID #:59




EXHIBIT 4
 Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 60 of 88 Page ID #:60




 1   STATE BAR OF CALIFORNIA
     OFFICE OF CHIEF TRIAL COUNSEL
 2   MELANIE J. LAWRENCE, No. 230102
     INTERIM CHIEF TRIAL COUNSEL
 3   ANTHONY J. GARCIA, No. 171419
     ASSISTANT CHIEF TRIAL COUNSEL
 4   MICHAEL J. GLASS, No. 102700
     SUPERVISING ATTORNEY
 5   PATRICE VALLIER-GLASS, No. 305900
     SENIOR TRIAL COUNSEL
 6   KERRI C. RILEY, No. 316679
     DEPUTY TRIAL COUNSEL
 7   845 South Figueroa Street
     Los Angeles, California 90017-2515
 8   Telephone: (213) 765-1180
 9

10                                          STATE BAR COURT
11                             HEARING DEPARTMENT - LOS ANGELES
12

13   In the Matter of:                                )   Case No. SBC-09-O-13090-YDR
                                                      )
14   NINA RAE RINGGOLD,                               )   PETITION FOR DISBARMENT AFTER
     State Bar No. 133735,                            )   DEFAULT; [Rules Proc. Of State Bar, Rule
15                                                    )   5.85]; SUPPORTING DECLARATION OF
     An Attorney of the State Bar.                    )   PATRICE VALLIER-GLASS
16

17
             The Office of Chief Trial Counsel of the State Bar (“State Bar”) hereby petitions the
18
     State Bar Court to recommend respondent’s disbarment to the Supreme Court, pursuant to rule
19
     5.85 of the Rules of Procedure of the State Bar of California (hereinafter “rule”), based on
20
     respondent’s failure to appear at trial and failure to have the default set aside or vacated with the
21
     time period prescribed. This petition is based upon the attached declaration and the court file in
22
     this matter.
23
     ///
24
     ///
25
     ///
26

27

28                                                    -1-
                PETITION FOR DISBARMENT AFTER DEFAULT (Case No. SBC-09-O-13090-YDR)
 Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 61 of 88 Page ID #:61




     I.      THIS PETITION FOR DISBARMENT IS NECESSARY BECAUSE
 1           RESPONDENT’S DEFAULT HAS BEEN ENTERED AND THE DEFAULT HAS
 2           NOT BEEN SET ASIDE OR VACATED.

 3           Rule 5.85 provides in part as follows: “If the attorney fails to have the default set aside or
 4   vacated, the Office of Chief Trial Counsel must file a petition requesting the Court to
 5   recommend the attorney’s disbarment to the Supreme Court.”
 6           On September 9, 2020, respondent failed to appear at the duly noticed State Bar Court
 7   trial in this matter.
 8           On September 9, 2020, this court filed an order entering default for respondent’s failure
 9   to appear at trial in accordance with rule 5.81(B).
10           On September 16, 2020, respondent filed an Expedited Motion to Vacate and/or to Stay
11   Order dated September 9, 2020 and All Other Orders Entered Prior to Ruling on Request for
12   Accommodation and/or Thereafter.
13           On October 26, 2020, this court denied respondent's motion to vacate the default or for a
14   stay of the September 9, 2020 order and proceedings.
15           On November 13, 2020, respondent filed a request for judicial notice.
16           On November 13, 2020, respondent filed a renewed Motion to Stay Order dated
17   September 9, 2020 and All Proceedings in the Hearing Department and a Petition for
18   Interlocutory Review in the Review Department.
19           On November 23, 2020, the Review Department denied respondent’s request for
20   interlocutory review.
21           On December 2, 2020, the Review Department rejected filing of respondent’s Motion to
22   Reopen and for Reconsier (sic) because it did not meet the court’s filing requirements.
23

24   II.     THIS PETITION IS TIMELY FILED.

25           As authorized by rule 5.85(C)(1), this petition is being filed 46 days or more after the
26   default order was served.
27

28                                                    -2-
                 PETITION FOR DISBARMENT AFTER DEFAULT (Case No. SBC-09-O-13090-YDR)
 Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 62 of 88 Page ID #:62




     III.   THIS PETITION IS SUPPORTED BY A DECLARATION CONTAINING THE
 1          INFORMATION REQUIRED BY RULE 5.85(A).
 2

 3          Rule 5.85(A) requires that petitions for disbarment “must be supported by one or more

 4          declarations stating whether:
            (1) any contact with the attorney has occurred since the default was entered;
 5          (2) any other investigations or disciplinary charges are pending against the attorney;
            (3) the attorney has a prior record of discipline; and
 6          (4) the Client Security Fund has paid out claims as a result of the attorney’s misconduct.”
 7
     A. CONTACT WITH THE ATTORNEY SINCE THE DEFAULT WAS ENTERED.
 8

 9          The State Bar has had contact with respondent since the default was entered, through

10   Senior Trial Counsel Patrice Vallier-Glass. Respondent has contacted Vallier-Glass through

11   several emails regarding pleadings, including but not limited to, contacting Vallier-Glass on the

12   following dates: September 16, 19, 2020 and November 13, 2020. (Declaration of Patrice

13   Vallier-Glass, attached.)

14
     B. OTHER PENDING INVESTIGATIONS OR DISCIPLINARY CHARGES.
15

16          Other than the current matter, there are four investigations pending against respondent.

17   (Declaration of Patrice Vallier-Glass, attached.)
18
     C. PRIOR DISCIPLINE.
19

20          Respondent does not have a prior record of discipline. (Declaration of Patrice Vallier-

21   Glass, attached.)

22
     D. CLIENT SECURITY FUND PAYMENTS.
23

24          The Client Security Fund has not paid out claims as a result of the attorney’s misconduct.

25   (Declaration of Patrice Vallier-Glass, attached.)
26

27

28                                                   -3-
                PETITION FOR DISBARMENT AFTER DEFAULT (Case No. SBC-09-O-13090-YDR)
 Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 63 of 88 Page ID #:63




     IV.      THE REQUIREMENTS FOR MANDATORY DISBARMENT HAVE BEEN
 1            SATISFIED.
 2
              Rule of Procedure 5.85(F)(1) provides in pertinent part as follows:
 3            If the attorney fails to file a response or the Court denies a motion to set aside or vacate
              the default and all other relief from default, the Court must recommend the attorney’s
 4            disbarment if the evidence shows:
 5               (a) The notice of disciplinary charges was served on the attorney properly;
 6               (b) The attorney had actual notice or reasonable diligence was used to notify the
                     attorney of the proceedings prior to the entry of default;
 7
                 (c) The default was properly entered; and
 8
                 (d) The factual allegations deemed admitted in the notice of disciplinary charges …
 9                   support a finding that the attorney violated a statute, rule or court order that would
                     warrant the imposition of discipline.
10

11   A. THE NDC WAS SERVED ON THE ATTORNEY PROPERLY.
12
              The State Bar Court file similarly contains a valid proof of service. Respondent
13
     thereafter appeared in this proceeding. The order entering default established that the NDC was
14
     properly served on respondent.
15

16   B. THE ATTORNEY HAD ACTUAL NOTICE OR REASONABLE DILIGENCE WAS
        USED TO NOTIFY THE ATTORNEY OF THE PROCEEDINGS PRIOR TO ENTRY
17      OF THE DEFAULT.
18
              Respondent appeared in this proceeding. (See Court file.) Thereafter, the State Bar Court
19
     served a notice of trial on respondent by first class mail in the manner prescribed by rule
20
     5.81(A)(2). (See State Bar Court file.)
21

22   C. THE DEFAULT WAS PROPERLY ENTERED.
23
              The order for entry of default was properly served upon respondent in the manner
24
     required by law and it contained the language required by rule 581(B). (See State Bar Court
25
     file.)
26

27

28                                                     -4-
                 PETITION FOR DISBARMENT AFTER DEFAULT (Case No. SBC-09-O-13090-YDR)
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     D. THE FACTUAL ALLEGATIONS DEEMED ADMITTED IN THE NDC SUPPORT A
 1      FINDING THAT THE ATTORNEY VIOLATED A STATUTE, RULE OR COURT
        ORDER THAT WOULD WARRANT THE IMPOSITION OF DISCIPLINE.
 2

 3          The facts alleged in the NDC were deemed admitted when this Court entered

 4   respondent’s default. (Rule 5.82(2).) These admitted facts support a finding that respondent

 5   committed the violations alleged in the NDC, thus warranting the imposition of discipline.

 6
     V.     CONCLUSION.
 7

 8          The State Bar respectfully requests that the Court recommend to the Supreme Court that

 9   respondent be disbarred.
                                                   Respectfully submitted,
10
                                                   THE STATE BAR OF CALIFORNIA
11                                                 OFFICE OF CHIEF TRIAL COUNSEL
12

13
     DATED: December 14, 2020                By:
14                                                 Kerri Riley
                                                   Deputy Trial Counsel
15

16   DATED: December 14, 2020                By:
                                                   Patrice Vallier-Glass
17                                                 Senior Trial Counsel
18

19

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21

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23

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28                                                   -5-
                PETITION FOR DISBARMENT AFTER DEFAULT (Case No. SBC-09-O-13090-YDR)
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 1                         DECLARATION OF PATRICE VALLIER-GLASS

 2   I, Patrice Vallier-Glass, declare:

 3   1.     All statements made herein are based on my personal knowledge, except for those stated

 4   to be under information and belief.

 5   2.     I am an attorney licensed to practice law in the State of California. I am employed as a

 6   Senior Trial Counsel in the Office of Chief Trial Counsel of the State Bar of California. This

 7   matter is assigned to me for prosecution of disciplinary charges against respondent.

 8   3.     I have had contact with respondent since the Hearing Department entered respondent’s

 9   default on September 9, 2020. Respondent contacted me via email in order to serve me with

10   pleadings and a demand, on September 16 and 19, 2020 and November 13, 2020.

11   4.     On December 14, 2020, I reviewed the State Bar's computer database and determined

12   that, other than the current matter, there are four investigations pending against respondent.

13   5.     Respondent does not have a prior record of discipline.

14   6.     Based on my review of the State Bar's computer database on December 14, 2020, I have

15   determined that the Client Security Fund has not paid out claims as a result of respondent's

16   misconduct.

17
18          I declare under penalty of perjury under the laws of the State of California that the

19   foregoing is true and correct.

20          Executed this 14th day of December, 2020 at Los Angeles, California.

21
                                                   Patrice Vallier-Glass
22                                                 Declarant
23

24

25
26

27

28                                                   -6-
                PETITION FOR DISBARMENT AFTER DEFAULT (Case No. SBC-09-O-13090-YDR)
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EXHIBIT 5
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     NINA  R.  RINGGOLD,  ESQ.  (SBN  133735)                                UNDER  PROTEST  
1    LAW  OFFICE  OF  NINA  RINGGOLD  
2    17901  Malden  St.  
     Northridge,  CA    91326  
3
     Telephone:  (818)  773-­‐‑2409,  Facsimile:  (866)  340-­‐‑4312  
4    Attorney  for    Nina  Ringgold,  Esq.  and    Law  Offices  of  Nina  Ringgold  
5      
6                                         STATE  BAR  COURT  
7
                                                     
                                 HEARING  DEPARTMENT-­‐‑  LOS  ANGELES  
8
       
9         IN  THE  MATTER  OF                            Case  Nos:  09-­‐‑0-­‐‑13090    
10                                                         [REQUEST  FOR  HEARING]  
          NINA  R.  RINGGOLD                               
11
          Member  No.  133735                            RESPONSE  TO  PETITION  FOR  
12                                                       DISBARMENT  AFTER  DEFAULT;  
            
13                                                       AND  TO  VACATE  DEFAULT  ON  
14
                                                         GROUNDS,  INCLUDING  BUT  NOT  
                                                         LIMITED  TO,  LACK  OF  
15
                                                         JURISDICTION;  AND  REQUEST  FOR  
16                                                       STAY  
17                                                         
                                                           
18
                                                           
19
                                                           
20                                                                   
21

22

23

24

25

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27

28
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     I.         INTRODUCTION     
1
                Respondent  files  this  response  to  the  petition  for  disbarment  after  default  filed  by  the  
2
     Office  of  Chief  Trial  Counsel  (“OCTC”)  and  request  for  stay.    
3

4               This  response  is  expressly  filed  without  waiver  of  any  jurisdictional  objection  or  remedy  

5    including  but  not  limited  to  under  federal  law  and  the  United  States  Constitution.    Petitioner  
6    does  not  abandon  or  forego  a  federal  forum  and  hereby  reserves  all  claims  under  federal  law  
7
     and  the  United  States  Constitution;  First,  Fifth,  Fourteenth,  and  Fifteenth  Amendment;  the  anti-­‐‑
8
     harassment  provisions  of  the  Voting  Rights  Act  of  1965  as  amended;  Title  II  of  the  ADA,  504  of  
9
     the  Rehabilitation  Act,  and  the  Civil  Rights  Act  of  1866.    See  also    Government  Employees  v.  
10

11   Windsor  (1957)  353  U.S.  364,    England  v.  Louisiana  State  Board  of  Medical  Examiners  (1964)  375  

12   U.S.  411,  420  (respondent  only  informs  the  court  of  her  federal  claims  so  that  state  law  may  be  
13   construed  in  light  of  those  claims);  American  Trial  Lawyers  v.  New  Jersey  Supreme  Court  (1973)  
14
     409  U.S.  467,  468-­‐‑469;  CCP  §  410.10.  Additionally,  respondent  does  not  waive  existing  
15
     jurisdictional  challenges  and  claims  including,  but  not  limited  those  currently  pending  in  the  
16
     federal  court  or  those  preserved  by  the  federal  court  order  prospectively  on  future  complaints.  
17

18
     II.        ARGUMENT    

19              A.    OCTC’s  Petition  In  General  Has  No  Merit  
20                      Section  I  of  the  petition  purports  to  provide  a  procedural  summary.    The  
21
                summary  makes  substantial  errors.  For  example  it  fails  to  outline  why  there  exist  
22
                jurisdiction  to  enter  a  default.    It  attempts  to  shield  the  jurisdictional  error  by  
23
                indicating  that  the  review  department  denied  respondent’s  request  for  judicial  
24

25
                notice  on  November  23,  2020.    The  request  for  judicial  notice  states:  

26                
                “Petitioner  requests  judicial  notice  of  (1)  the  appendix  (sealed  and  unsealed)  filed  
27
                in  the  petition  for  review  in  this  case  on  September  3,  2020,  and  (2)  the  fact  that  
28
                there  does  not  exist  a  certified  remand  order  filed  in  the  State  Bar  Court  
                following  the  petitioner’s  removal  to  the  federal  court  on  August  27,  2020.”  
                  



                                                                   1
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             The  review  department  made  no  ruling  on  item  2  of  the  request  for  judicial  notice.    And  
1
     the  docket  in  this  case  demonstrates  there  has  not  been  a  certified  remand  order  filed  in  this  
2
     tribunal  from  and  removal  to  the  federal  court.  
3
             It  fails  to  demonstrate  any  jurisdiction  to  modify  California  Rule  of  Court  Rule  1.100  or  
4

5    any  State  Bar  Rule  that  existed  from  August  23,  2015  to  October  31,  2020  authorizing  the  

6    procedures  that  as  to  disability  accommodation  which  violate  state  and  federal  law  and  in  a  
7    discriminatory  manner  designated  attorneys  with  disabilities  from  access  to  a  court  of  record  to  
8
     review  disability  accommodation  or  allowed  entry  of  a  default  prior  to  disposition  of  pending  
9
     requests  for  disability  accommodation.  
10
             The  petitioner  erroneously  specifies  that  the  review  department  denied  respondent’s  
11

12
     request  to  reopen  and  for  reconsideration  because  it  did  not  meet  the  court’s  filing  

13   requirements.    That  was  not  the  ruling  on  this  motion.  
14           OCTC  fails  to  provide  a  declaration  that  verifies  the  information  required  under  Rule  
15
     5.85  (A)  or    that  truthfully  discloses  accurate  information.  For  example,  it  does  not  disclose  the  
16
     request  and  communications  by  respondent  of  the  method  by  which  it  received  from  the  court,  
17
     confidential  medical  and  health  information  without  a  court  order  or  consent  required  by  law  
18

19
     by  respondent.    In  fact  it  persists  in  refusal  to  identify  this  information.    There  are  no  

20   investigations  that  have  been  disclosed  by  OCTC  and  any  such  investigation  must  be  disclosed  
21   in  its  declaration.    (See  Section  B  of  petitioner).    This  disclosure  needs  to  be  made  by  proper  
22   verification  and  identification  prior  to  disposition.    Respondent  has  no  record  of  discipline  or  
23
     client  complaint  with  the  state  bar.    The  State  Bar  Act  requires  accusations  be  verified  and  
24
     provided  to  the  attorney.  
25
             OCTC  has  not  satisfied  the  requirements  of  5.85  (F)  because  the  notice  of  disciplinary  
26

27   charge  was  not  properly  served  and  violated  28  U.S.C.  §  1446.    And  due  to  this  fact  there  never  
28   existed  jurisdiction  in  this  tribunal.    The  default  was  not  properly  entered  and  per  se  violates  

     state  and  federal  disability  law  and  Rule  1.100  by  entry  of  default  before  disposition  of  requests  




                                                                 2
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     for  accommodation,  by  modifying  Judicial  Council  form  MC-­‐‑410  demonstrating  the  mandatory  
1
     factors  and  legal  standard  was  not  applied,  and  by  operation  completely  without  authority  to  
2
     devise  disability  accommodation  procedures  not  authorized  by  the  Supreme  Court  or  the  Board  
3

4    of  Trustees.    In  fact  the  procedures  are  rogue  abuses  of  authority  in  which  were  attempted  to  be  

5    modified  after  respondent  raised  the  issue  and  disclosed  the  inadequacies.  
6            OCTC  falsely  claims  that  notice  of  trial  was  served  properly  under  Rule  5.81  (A)(2).    The  
7
     dates  for  trial  at  issue  were  not  included  in  any  pre-­‐‑trial  order.    Instead  they  were  all  set  after  
8
     the  court  directed  respondent  to  set  dates  for  medical  treatment  with  written  direction  to  make  
9
     appointments  needed  they  after  respondent  was  in  the  hospital  the  court  set  trial  dates  that  
10

11   conflicted  with  the  dates  respondent  required  medical  treatment.  

12           The  default  was  not  properly  entered  or  served  in  the  manner  required  by  law  and  
13   applicable  rules  and  procedures.  
14
            B.         This  Court  Is  Required  To  Deny  The  Petition  Because  It  Does  Not  Comply  With  
15   Rule  5.85  (A)  &  (B)  &  (D)  And  The  Factors  Of  Rule  5.85  (F)(2)  
16                     1.     The  Default  Is  Improper  Because  Mandatory  Statutory  Notice  Was  Not  
     Provided.        
17
            The  State  Bar  Act  does  give  jurisdiction  to  the  State  Bar  Court  to  enter  a  default  and  
18
     enroll  an  attorney  involuntarily  inactive  when  there  is  not  compliance  with  Business  &  
19
     Professions  Code  §  6007  (e).    Under  this  statutory  provision  it  is  mandatory  for  the  following  to  
20

21   have  taken  place:  
22           e)(1)  The  State  Bar  Court  shall  order  the  involuntary,  inactive  enrollment  of  a  
23           licensee  whose  default  has  been  entered  pursuant  to  the  State  Bar  Rules  of  
             Procedure  if  both  of  the  following  conditions  are  met:  
24
               
25           (A)  The  notice  was  duly  served  pursuant  to  subdivision  (c)  of  Section  6002.1.  
26             
             (B)  The  notice  contained  the  following  language  at  or  near  the  beginning  of  the  
27
             notice,  in  capital  letters:  
28
               
             IF  YOU  FAIL  TO  FILE  AN  ANSWER  TO  THIS  NOTICE  WITHIN  THE  TIME  
             ALLOWED  BY  STATE  BAR  RULES,  INCLUDING  EXTENSIONS,  OR  IF  YOU  



                                                                   3
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                FAIL  TO  APPEAR  AT  THE  STATE  BAR  COURT  TRIAL,  (1)  YOUR  DEFAULT  
1               SHALL  BE  ENTERED,  (2)  YOU  SHALL  BE  ENROLLED  AS  AN  INVOLUNTARY  
2               INACTIVE  LICENSEE  OF  THE  STATE  BAR  AND  WILL  NOT  BE  PERMITTED  
                TO  PRACTICE  LAW  UNLESS  THE  DEFAULT  IS  SET  ASIDE  ON  MOTION  
3
                TIMELY  MADE  UNDER  THE  RULES  OF  PROCEDURE  OF  THE  STATE  BAR,  (3)  
4               YOU  SHALL  NOT  BE  PERMITTED  TO  PARTICIPATE  FURTHER  IN  THESE  
5               PROCEEDINGS  UNLESS  YOUR  DEFAULT  IS  SET  ASIDE,  AND  (4)  YOU  SHALL  
6
                BE  SUBJECT  TO  ADDITIONAL  DISCIPLINE.  
       
7
                Not  proper  notice  could  be  provided  without  filing  of  a  certified  remand  order  of  
8
     the  federal  court  in  the  this  administrative  agency.    
9
                       2.       The  State  Bar  Act  Does  Not  Provide  Jurisdiction  Or  Inherent  Authority  
10
          To  The  Administrative  Agency  (State  Bar  Court)  To  Impose  A  Termination  Of  Status  
11        Sanction  (Particularly  A  Sanction  Without  Mandatory  Statutory  Notice)  Or  To  Creating  
12        Rogue  and  Discriminatory  Procedures  As  to  Disability  Accommodation  Without  Authority  
13
          of  Authorized  Procedures  Authorized  By  The  Supreme  Court  Or  Board  of  Trustees  
                The  State  Bar  Act  does  not  provide  jurisdiction  or  inherent  authority  to  the  
14
     administrative  agency  to,  in  essence,  impose  a  sanction  without  mandatory  statutory  notice.1    
15

16   Additionally,  the  Act  does  not  provide  jurisdiction  to  order  a  terminating  of  status  sanction  

17   without  mandatory  statutory  notice:  (i.e.  by  entry  of  a  default  during  trial  based  on  a  known  
18   verified  scheduling  conflict,  and  after  a  verified  response  has  been  filed  to  a  retaliatory  charge  
19
     filed  in  violation  of  removal  and  original  jurisdiction  of  the  federal  court).    
20
                It  has  no  authority  to  established  rogue  policies  and  procedures  that  violate  state  and  
21
     federal  law.    (ie  See  Saleeby  v.  State  Bar  of  California  (1985)  39  Cal.3d  547    
22

23                        

24

25

26

27   1
      See  Cal.  Bus.  &  Prof.  Code  §  6086.5.    In  fact  as  to  the  limited  sanction  authority  allowed  for  
28   discovery,  dismissal  is  not  allowed  without  findings  on  the  protection  of  the  public.    And  here  
     both  failing  to  make  any  provision  for  clients  in  pending  cases  to  obtain  counsel  or  any  ruling  
     on  the  issues  presented  during  the  trial  or  disregard  of  the  lack  of  a  remand  order  was  
     detrimental  to  the  public  interest  and  discriminatory  retaliation.  


                                                                  4
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                      3.      The  Mandatory  Requirements  To  Recommend  Disbarment  Have  Not  
1
     Been  Met  And  Under  Rule  5.85  (F)(2)  The  Petition  Must  Be  Denied  and  Vacate  The  Default  
2    Vacated  
3             As  a  threshold  matter,  the    rule  5.85  (F)  standard  is  not  applicable  because  a  verified  
4    response  was  filed.    This  is  not  a  circumstance  in  which  respondent  did  not  respond  or  appear  
5
     at  trial  (but  rather  required  a  disability  accommodation  and  there  was  no  disposition  of  her  
6
     request.    The  administrative  agency  failed  to  provide  the  mandatorily  required  statutory  notice  
7
     prior  to  entry  of  a  default  and  enrolling  respondent  inactive.    Additionally  the  evidentiary  
8

9    standard  of  Rule  5.85  (F)  has  not  been  met  as  specified  above.             

10          C.     Respondent  Requests  That  The  Proceedings  Be  Stayed  Including  The  Order  
11
     Enrolling  Respondent  Inactive  
            Particularly  in  light  of  the  showing  of  the  lack  of  basis  for  disbarment  or  the  lack  of  valid  
12
     mandatory  statutory  notice  respondent  requests  a  stay  including  the  order  causing  inactive  
13

14   enrollment.    The  timing  and  method  clearly  demonstrate  targeted  harm  to  respondent  and  

15   clients  in  violation  of  Cal.  Bus.  &  Professions  Code  §  6001.1.    Instead  of  protecting  the  public,  
16   and  ignoring  the  unchallenged  evidence  this  court  should  immediately  terminate  the  continuing  
17
     harm  in  violation  of  the  California  Constitution  and  federal  law.  
18
     III.     CONCLUSION  
19
              For  the  foregoing  reasons  and  based  on  the  record  in  these  proceedings,  it  is  respectfully  
20

21   requested  that  this  court  grant  the  relief  sought  herein.    

22   Dated:    January  5,  2021                         
23                                                     LAW  OFFICE  OF  NINA  R.  RINGGOLD  
24
       
25                              
26                                                     By:    /s/  Nina  R.  Ringgold,  Esq.  
                                                                         Nina  R.  Ringgold,  Esq.  
27
                                                                       Attorney  for  the  Respondent/Defendant  
28     
                                         




                                                                5
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                                                  PROOF  OF  SERVICE  
1
          I  hereby  certify  that  on  the  date  specified  below  I  caused  to  be  served  the  following:  
2
       
3
     RESPONSE  TO  PETITION  FOR  DISBARMENT  AFTER  DEFAULT;  AND  TO  VACATE  
4
     DEFAULT  ON  GROUNDS,  INCLUDING  BUT  NOT  LIMITED  TO,  LACK  OF  
5
     JURISDICTION;  AND  REQUEST  FOR  STAY  
6

7
             The  document  was  served  as  indicated  below:  

8    Electronic  Service  
     Patrice.Vallier-Glass@calbar.ca.gov
9
     State  Bar  Of  California  
10   Office  Of  The  Chief  Trial  Counsel  
11   845  South  Figueroa  Street  
     Los  Angeles,  California  90017  
12
       
13     
14           I  declare  under  penalty  of  perjury  under  the  laws  of  the  State  of  California  the  foregoing  
15   is  true  and  correct  and  this  declaration  was  executed  on  January  5,  2021  at  Los  Angeles,  
16
     California.  
17
       
18
                                                                        /s  Matthew  Melaragno  
19

20                                                            ______________________________________  
                                                                     
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EXHIBIT 6
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                            STATE BAR COURT OF CALIFORNIA

                         HEARING DEPARTMENT - LOS ANGELES


In the Matter of                                     )     Case Nos. 09-O-13090 (10-O-05197;
                                                     )     13-O-12272; 14-O-00523;
NINA RAE RINGGOLD,                                   )     14-O-03667)-YDR
                                                     )
State Bar No. 133735.                                )     DECISION AND ORDER OF
                                                     )     INACTIVE ENROLLMENT

        Respondent Nina Rae Ringgold is charged with 21 ethical violations arising from five

matters. Respondent failed to appear at trial, and her default was entered. Thereafter, the Office

of Chief Trial Counsel of the State Bar of California (OCTC) filed a petition for disbarment

under rule 5.85 of the Rules of Procedure of the State Bar.1

        Rule 5.85 provides the procedure to follow when an attorney fails to appear at trial after

receiving adequate notice and opportunity. The rule provides that, if an attorney’s default is

entered for failing to appear at trial and if the attorney fails to have the default set aside or

vacated within 45 days, then OCTC will file a petition requesting that the State Bar Court

recommend the attorney’s disbarment.2




        1
         Unless otherwise indicated, all further references to rules are to the Rules of Procedure
of the State Bar of California. Furthermore, all statutory references are to the Business and
Professions Code, unless otherwise indicated.
        2
        If the court determines that any due process requirements are not satisfied, including
adequate notice to the attorney, it must deny the petition for disbarment and take other
appropriate action to ensure that the matter is promptly resolved. (Rule 5.85(F)(2).)
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       In the instant case, the court concludes that all of the requirements of rule 5.85 have been

satisfied and, therefore, grants the petition and recommends that Respondent be disbarred from

the practice of law.

                               FINDINGS AND CONCLUSIONS

       Respondent was admitted to the practice of law in California on June 16, 1988, and has

been a licensed attorney of the State Bar of California since that time.

Procedural Requirements Have Been Satisfied

       On March 23, 2015, OCTC filed and properly served a notice of disciplinary charges

(NDC) on Respondent in case numbers 09-O-13090;10-O-05197; 13-O-12272; 14-O-00523;

14-O-00524 and 14-O-03667.3 OCTC served the NDC on Respondent by certified mail, return

receipt requested at her official State Bar attorney records address. Respondent filed an answer

to the NDC on July 13, 2015.4

       On October 3, 2017, the court held a status conference attended by Respondent and

OCTC. The court set the trial for 10 days, commencing on January 17, 2018, at 10:00 a.m. On

October 11, 2017, the court filed an order setting forth the foregoing trial date in this matter. The

order was properly served on Respondent.

       The trial was continued and/or delayed on numerous occasions following Respondent’s

removal of this case to the United States District Court and for other good cause. Upon the

district court’s remand, this court held a status conference on July 1, 2019. The court set a new

trial to commence on August 15, 2019 at 10:00 a.m. On July 2, 2019, the court filed an order




       3
        Case number 14-O-00524 involved charges against Respondent’s co-respondent and
was severed from this correlated matter.
       4
       Pursuant to rule 5.50, this case was abated from September 28, 2015, through
September 28, 2017.

                                                 -2-
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setting forth the foregoing trial date in this matter. The order was properly served on

Respondent.

       Again, the trial was continued and/or delayed on numerous instances due to the entry of

Respondent’s default for failing to appear at trial (the default was subsequently vacated);

Respondent’s removal of the case to the United States District Court, and for other good cause.

       Following the numerous continuances, the court set trial to take place from September 8

through September 11, 23, 24, 29, 30 and October 1 through October 2, 2020. The order setting

the new trial dates was properly served on Respondent. Respondent did not appear for trial on

September 9 as scheduled. The court entered Respondent’s default in an order filed on

September 9, 2020. The order was properly served on Respondent at her official State Bar

attorney records address by certified mail, return receipt requested. (Rule 5.81(B).) The order

notified Respondent that, if she did not timely move to set aside her default, the court would

recommend her disbarment. The order also placed Respondent on involuntary inactive status

under Business and Professions Code section 6007, subdivision (e), effective three days after

service of the order, and Respondent has remained inactively enrolled since that time.

       On September 16, 2020, Respondent timely sought to have her default set aside or

vacated. (Rule 5.83(C)(2) [attorney has 45 days after order entering default is served to file

motion to set aside default].) The court denied the motion to set aside on October 26, 2020.

       On November 13, 2020, Respondent filed in the Review Department of the State Bar

Court a petition for review and application for stay of this court’s order entering default. On

November 23, 2020, the Review Department denied the petition for review. On December 7,

2020, Respondent sought reconsideration of the Review Department’s November 23, 2020 order,

which the Review Department denied on December 11, 2020.




                                                -3-
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       On December 14, 2020, OCTC filed and properly served a petition for disbarment on

Respondent at her official State Bar attorney records address. As required by rule 5.85(A),

OCTC reported in the petition that: (1) OCTC did have contact with Respondent since the

default was entered;5 (2) there are four other disciplinary investigations pending against

Respondent; (3) Respondent does not have a prior record of discipline; and (4) the Client

Security Fund has not paid out any claims resulting from Respondent’s conduct.

       Respondent did not respond to the petition for disbarment. The case was submitted for

decision on February 26, 2021.

The Admitted Factual Allegations Warrant the Imposition of Discipline

       Upon entry of Respondent’s default, the factual allegations in the NDC are deemed

admitted, and no further proof is required to establish the truth of such facts. (Rule 5.82.) As set

forth below in greater detail, the factual allegations in the NDC support the conclusion that

Respondent is culpable as charged and, therefore, violated a statute, rule or court order that

would warrant the imposition of discipline. (Rule 5.85(F)(1)(d).)

Case No. 09-O-13090

       Count One – In the litigation matter of In Re Aubry Family Trust, Los Angeles Superior

Court case number PP00521, Respondent maintained an unjust action by filing on behalf of

herself and others, appeals of court orders and a petition (12 filings) that were meritless,

frivolous; filed for purposes of delay, improper purposes, while Respondent continuously

disobeyed court orders; and filed on behalf of a party without standing or without a party’s

knowledge or consent, in willful violation of section 6068, subdivision (c).




       5
       Respondent emailed OCTC regarding various pleadings on September 16, and
September 19, 2020; and November 13, 2020.

                                                 -4-
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       Count Two – The court does not find Respondent culpable of willfully violating section

6103 (failure to obey a court order) as the facts deemed admitted as a result of the entry of

Respondent’s default do not support a finding by clear and convincing evidence that Respondent

disobeyed or violated an order of the court when the facts do not demonstrate Respondent had

knowledge of the court order. (In the Matter of Maloney and Virsik (Review Dept. 2005) 4 Cal.

State Bar Ct. Rptr. 774, 787 [attorney’s knowledge of a final, binding order is essential element

of a § 6103 violation].)

       Count Three – The court does not find Respondent culpable of willfully violating section

6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not support

a finding by clear and convincing evidence that Respondent disobeyed or violated an order of the

court when the facts do not demonstrate Respondent had knowledge of the court order. (In the

Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

       Count Four – The court does not find Respondent culpable of willfully violating section

6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not support

a finding by clear and convincing evidence that Respondent disobeyed or violated an order of the

court when the facts do not demonstrate Respondent had knowledge of the court order. (In the

Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

       Count Five – The court does not find Respondent culpable of willfully violating section

6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not support

a finding by clear and convincing evidence that Respondent disobeyed or violated an order of the

court when the facts do not demonstrate Respondent had knowledge of the court order. (In the

Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

       Count Six – The court does not find Respondent culpable of willfully violating section

6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not support


                                                -5-
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a finding by clear and convincing evidence that Respondent disobeyed or violated an order of the

court when the facts do not demonstrate Respondent had knowledge of the court order. (In the

Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

        Count Seven – Respondent willfully violated section 6068, subdivision (o)(3), by failing

to report to the State Bar within 30 days after Respondent had knowledge of the $10,720 in

sanctions imposed on Respondent on November 13, 2009, by the Second Appellate District,

Division Five in Justin Ringgold-Lockhart, et al. v. Myer Sankary, et al., case numbers B217816

and B217890.

        Count Eight – Respondent willfully violated section 6104 (appearing for party without

authority) by filing an appeal in the Court of Appeal of the State of California for the Second

Appellate District, Division Five in case number B188155 on behalf of MLS when Respondent

had no authority to do so.

        Count Nine – Respondent committed acts involving moral turpitude and dishonesty in

willful violation of section 6106 by acting in bad faith and habitually abusing the judicial system

for almost six years when she intentionally employed litigation tactics designed to increase the

cost of litigation, waste court resources, and extend the length of the litigation in the case of In

Re Aubry Family Trust.

Case No. 10-O-05197

        Count Ten – The court does not find Respondent culpable of willfully violating section

6068, subdivision (c), as the facts deemed admitted as a result of the entry of Respondent’s

default do not support a finding by clear and convincing evidence that Respondent failed to

counsel or maintain such action, proceedings, or defenses only as appear to Respondent legal or

just.




                                                  -6-
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        Count Eleven – Respondent willfully violated section 6068, subdivision (o)(3), by failing

to report to the State Bar within 30 days after Respondent had knowledge of the $8,200 in

sanctions imposed on Respondent on March 23, 2010, by the Los Angeles Superior Court in

ASAP Copy and Print v. Canon Business Solutions-West, et al., case number PC043358.

        Count Twelve – Respondent willfully violated section 6068, subdivision (o)(3), by failing

to report to the State Bar within 30 days after Respondent had knowledge of the $5,966.37 in

sanctions imposed on Respondent on March 24, 2010, by the Los Angeles Superior Court in

ASAP Copy and Print v. Canon Business Solutions-West, et al., case number PC043358.

        Count Thirteen – Respondent willfully violated section 6068, subdivision (o)(3), by

failing to report to the State Bar within 30 days after Respondent had knowledge of the $4,050 in

sanctions imposed on Respondent on March 25, 2010, by the Los Angeles Superior Court in

ASAP Copy and Print v. Canon Business Solutions-West, et al., case number PC043358.

        Count Fourteen – The court does not find Respondent culpable of willfully violating

section 6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not

support a finding by clear and convincing evidence that Respondent disobeyed or violated an

order of the court when the facts do not demonstrate Respondent had knowledge of the court

order. (In the Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

Case No. 13-O-12272

        Count Fifteen – The court does not find Respondent culpable of willfully violating

section 6068, subdivision (c), as the facts deemed admitted as a result of the entry of

Respondent’s default do not support a finding by clear and convincing evidence that Respondent

failed to counsel or maintain such action, proceedings, or defenses only as appear to Respondent

legal or just.




                                                -7-
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       Count Sixteen – Respondent willfully violated section 6068, subdivision (o)(3), by failing

to report to the State Bar within 30 days after Respondent had knowledge of the $8,895 in

sanctions imposed on Respondent on March 25, 2010, by the United States District Court for the

Central District of California in ASAP Copy and Print v. Canon Business Solutions-West, et al.,

case number CV12-10165-ABC.

       Count Seventeen – The court does not find Respondent culpable of willfully violating

section 6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not

support a finding by clear and convincing evidence that Respondent disobeyed or violated an

order of the court when the facts do not demonstrate Respondent had knowledge of the court

order. (In the Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

Case No. 14-O-03667

       Count Eighteen – In ASAP Copy and Print v. Canon Business Solutions-West, et al,

appellate case number B238144, Respondent maintained an unjust action by filing on behalf of

her client, frivolous appeals of six post-judgment orders in the California Court of Appeal for the

Second Appellate District Division Two, seeking appellate review of matters that were

previously and finally decided, in willful violation of section 6068, subdivision (c).

       Count Nineteen – The court does not find Respondent culpable of willfully violating

section 6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not

support a finding by clear and convincing evidence that Respondent disobeyed or violated an

order of the court when the facts do not demonstrate Respondent had knowledge of the court

order. (In the Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

Case Nos. 14-O-00523

       Count Twenty – The court does not find Respondent culpable of willfully violating

section 6068, subdivision (c), as the facts deemed admitted as a result of the entry of


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Respondent’s default do not support a finding by clear and convincing evidence that Respondent

failed to counsel or maintain such action, proceedings, or defenses only as appear to Respondent

legal or just.

        Count Twenty-One – The court does not find Respondent culpable of willfully violating

section 6103 as the facts deemed admitted as a result of the entry of Respondent’s default do not

support a finding by clear and convincing evidence that Respondent disobeyed or violated an

order of the court when the facts do not demonstrate Respondent had knowledge of the court

order. (In the Matter of Maloney and Virsik, supra, 4 Cal. State Bar Ct. Rptr. at p. 787.)

Disbarment is Recommended

        Based on the above, the court concludes that the requirements of rule 5.85(F) have been

satisfied and Respondent’s disbarment is recommended. In particular:

        (1) the NDC was properly served on Respondent under rule 5.25;

        (2) Respondent had actual notice of this proceeding and was properly given notice of the

trial date before the entry of the default;

        (3) the default was properly entered under rule 5.81; and

        (4) the factual allegations in the NDC deemed admitted by the entry of the default

support a finding that Respondent violated a statute, rule or court order that would warrant the

imposition of discipline.

        Despite actual notice and opportunity, Respondent failed to appear for trial in this

disciplinary proceeding. As set forth in the Rules of Procedure of the State Bar, the court

recommends disbarment.




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                                     RECOMMENDATIONS

Discipline - Disbarment

          It is recommended that Nina Rae Ringgold, State Bar Number 133735, be disbarred from

the practice of law in California and that her name be stricken from the roll of attorneys.

California Rules of Court, rule 9.20

          It is further recommended that Respondent be ordered to comply with the requirements of

California Rules of Court, rule 9.20, and to perform the acts specified in subdivisions (a) and (c)

of that rule within 30 and 40 days, respectively, after the effective date of the Supreme Court

order imposing discipline in this matter.6 Failure to do so may result in disbarment or

suspension.

Monetary Sanctions

          The court does not recommend the imposition of monetary sanctions, as proceedings in

this matter commenced before April 1, 2020. (See Rules Proc. of State Bar, rule 5.137(H)

[monetary sanctions rule applies to disciplinary proceedings commenced on or after April 1,

2020].)

Costs

          It is further recommended that costs be awarded to the State Bar in accordance with

Business and Professions Code section 6086.10, and are enforceable both as provided in

Business and Professions Code section 6140.7 and as a money judgment. Unless the time for


          6
          For purposes of compliance with rule 9.20(a), the operative date for identification of
“clients being represented in pending matters” and others to be notified is the filing date of the
Supreme Court order, not any later “effective” date of the order. (Athearn v. State Bar (1982) 32
Cal.3d 38, 45.) Further, Respondent is required to file a rule 9.20(c) affidavit even if Respondent
has no clients to notify on the date the Supreme Court filed its order in this proceeding. (Powers
v. State Bar (1988) 44 Cal.3d 337, 341.) In addition to being punished as a crime or contempt,
an attorney’s failure to comply with rule 9.20 is, inter alia, cause for disbarment, suspension,
revocation of any pending disciplinary probation, and denial of an application for reinstatement
after disbarment. (Cal. Rules of Court, rule 9.20(d).)

                                                -10-
   Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 86 of 88 Page ID #:86




payment of discipline costs is extended pursuant to subdivision (c) of section 6086.10, costs

assessed against a lawyer who is actually suspended or disbarred must be paid as a condition of

reinstatement or return to active status.

                 ORDER OF INVOLUNTARY INACTIVE ENROLLMENT

       In accordance with Business and Professions Code, section 6007(c)(4), it is ordered that

Nina Rae Ringgold, State Bar Number 133735, be involuntarily enrolled as an inactive lawyer of

the State Bar of California, effective three calendar days after service of this decision and order.

(Rules Proc. of State Bar, rule 5.111(D)(1).)7 Respondent’s inactive enrollment will terminate

upon (1) the effective date of the Supreme Court’s order imposing discipline; (2) as provided for

by rule 5.111(D)(2) of the Rules of Procedure of the State Bar, or (3) as otherwise ordered by the

Supreme Court pursuant to its plenary jurisdiction.




Dated: April 12, 2021                                    YVETTE D. ROLAND
                                                         Judge of the State Bar Court




       7
          An inactive lawyer of the State Bar of California cannot lawfully practice law in this
state. (Bus. & Prof. Code, § 6126, subd. (b); see also Bus. & Prof. Code, § 6125.) It is a crime
for an attorney who has been enrolled inactive (or disbarred) to practice law, to attempt to
practice law, or to even hold himself or herself out as entitled to practice law. (Ibid.) Moreover,
an attorney who has been enrolled inactive (or disbarred) may not lawfully represent others
before any state agency or in any state administrative hearing even if laypersons are otherwise
authorized to do so. (Benninghoff v. Superior Court (2006) 136 Cal.App.4th 61, 66-73.)


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                        CERTIFICATE OF ELECTRONIC SERVICE

                              (Rules Proc. of State Bar, rule 5.27.1.)


I, the undersigned, certify that I am a Court Specialist of the State Bar Court. I am over the age
of eighteen and not a party to the within proceeding. Pursuant to standard court practice, on
April 12, 2021, I transmitted a true copy of the following document(s):


               DECISION AND ORDER OF INACTIVE ENROLLMENT

by electronic service to NINA R. RINGGOLD at the following electronic service address as
defined in rule 5.4(29) and as provided in rule 5.26.1 of the Rules of Procedure of the State Bar:


       nrringgold@aol.com

by electronic service to PATRICE N. VALLIER-GLASS at the following electronic service
address as defined in rule 5.4(29) and as provided in rule 5.26.1 of the Rules of Procedure of the
State Bar:


       patrice.vallier-glass@calbar.ca.gov

The above document(s) was/were served electronically. My electronic service address is
                ctroomB@statebarcourt.ca.gov and my business address is
                    845 South Figueroa Street, Los Angeles, CA 90017

I declare, under penalty of perjury under the laws of the State of California, that the information
above is true and correct.




 Date: April 12, 2021
                                                   Elizabeth Alvarez
                                                   Court Specialist
                                                   State Bar Court
        Case 2:21-cv-03673 Document 1 Filed 04/29/21 Page 88 of 88 Page ID #:88




                                       CERTIFICATE OF SERVICE
1

2

3              I hereby certify that on April  29,  2021, I filed the following documents
4
     with the Clerk of Court for the United States District Court for the Central District
5

6    NOTICE AND PETITION FOR REMOVAL UNDER THE CIVIL RIGHTS ACT OF 1866; 28 U.S.C. §
     1443(2) [Refusal to Act Clause applicable to State Officers]; 28 U.S.C. § 1443 (1); 28 U.S.C. § 1331
7
     AND NOTICE OF ORIGINAL JURISDICTION UNDER CIVIL RIGHTS ACT OF 1866, THE
8    AMERICANS WITH DISABILITIES ACT, AND 504 OF THE REHABILITATION ACT   
9
     NOTICE  OF  INDEPENDENT  PETITION  FOR  WRIT  OF  HABEAS  CORPUS;  INDEPENDENT  
10   PETITION  FOR  WRIT  OF  QUO  WARRANTO  OR  OTHER  APPROPRIATE  RELIEF;  
11   INDEPENDENT  PETITION  TO  RE9 OPEN;  AND  

12
     APPLICATION  FOR  RELIEF  UNDER  THE  ALL  WRITS  ACT  (28  U.S.C.  §1651)  
13

14         I deposited a true and correct copy in the United States Mail addressed to the
15
     following:
16

17   Patrice Vallier-Glass
     The State Bar of California
18
     845 S. Figueroa St.
19   Los Angeles, CA 90017
20
           I declare under penalty of perjury under the laws of the State of California the
21

22   foregoing is true and correct and this declaration was executed on April  29,  2021  at Los
23
     Angeles, California.
24
                                                       s/ Matthew Melaragno
25

26

27

28




                                                        39
